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                                                                                                                                        FILED
                                                                                                                              U.S. BANKRUPTCY COURT
                                                                                                                            EASTERN & WESTERN DISTRICTS
                                                                                                                                    OF ARKANSAS
             United States Bankruptcy Court for the:                                                                               01/08/25        4:34 pm
                                                                                                                               LINDA McCORMACK, CLERK
             Eastern and Western District of Arkansas
                                                                                                                                         By: Lisa McDaniel
                                                                                                                                         DEPUTY CLERK
             Case number (It known): _ _ _ _ _ _ _ _ _ _ _ Chapter you are filing under:
                                                                           !ill' Chapter?                                                     D Check if this is an
                                                                           D Chapter 11
                                                                                                                                                 amended filing
                                                                           D Chapter 12
                                                                           D Chapter 13




      Official Form 101
      Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    06/24

      The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
      joint cas~and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
      the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
      Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
      same person must be Debtor 1 in all of the forms.
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.


       ■ §f     I    Identify Yourself

                                              About Debtor 1 :                                              About Debtor 2 (Spouse Only in a Joint Case):
        1.   Your full name
                                              Victoria
             Write the name that is on your   First name                                                    First name
             government-issued picture
             identification (for example,     Lee
             your driver's license or         Middle name                                                   Middle name
             passport).                       Meyers
                                              Last name                                                     Last name
             Bring your picture
             identification to your meeting
             with the trustee.                Suffix (Sr., Jr., 11, Ill)                                    Suffix (Sr., Jr., II, Ill)



        2. All other names you
                                              FTrst name                                                    First name
             have used in the last 8
             years
                                              Middle name                                                   Middle name
             Include your married or          Stewart-Meyers
             maiden names and any
                                              Last name                                                     Last name
             assumed, trade names and
             doing business as names.
                                              First name                                                    First name
             Do NOT list the name of any
             separate legal entity such as                                                                  Middle name
             a corporation, partnership, or   Middle name
             LLC that is not filing this
             petition.                        Last name                                                     Last name
                                               I'm the Bookkeeper
                                              Business name (if applicable)                                 Business name (if applicable)

                                               Victoria on the Road Spa City Photograph~
                                              Business name (if applicable)                                 Business name (if applicable)




        3. Only the last 4 digits of
             your Social Security             XXX           xx - - 2- -5- -9- -0-                           XXX           xx - - - - - - - - -
             number or federal                OR                                                            OR
             Individual Taxpayer
             Identification number            9xx - xx               --------                               9xx           xx       --------
             (ITIN)                                                                                 ===-.-=..::-~

       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                      page 1
                                                                                                                                               64pgs-otc
EOD: January 8, 2025
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Debtor 1    Victoria Lee Meyers                                                                       Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name               Last Name



                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


 4.   Your Employer                       8 3_0 7 7 8 2 4 4
      Identification Number             EIN-                                                               EIN-
      (EIN), if any.

                                        EIN-                                                               EIN



 s. Where you live                                                                                         If Debtor 2 lives at a different address:


                                        324 Burchwood Bay Rd.
                                        Number           Street                                            Number           Street


                                        AptA7

                                        Hot Springs National Park AR                        71913
                                        City                                     State     ZIP Code        City                                      State    ZIP Code

                                        Garland
                                        County                                                             County

                                        If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                        any notices to this mailing address.



                                        Number           Street                                            Number          Street


                                        P.O. Box                                                           P.O. Box



                                        City                                     State     ZIP Code        City                                      State    ZIP Code




; s. Why you are choosing               Check one:                                                         Check one:
     this district to file for
     bankruptcy                         liZi Over the last 180 days before filing this petition,           D Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any                   I have lived in this district longer than in any
                                               other district.                                                    other district.

                                        D I have another reason. Explain.                                  D I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




 Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1        Victoria Lee Meyers                                                                Case number (if known), _ _ _ _ _ _ _ _ _ _ _ __
                First Name   Middle Name             Last Name




              Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                           ~ Chapter 7
      under
                                           □ Chapter 11

                                           □ Chapter 12

                                           □ Chapter 13


s. How you will pay the fee                □ I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                           !;21 I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           D I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


9.    Have you filed for
      bankruptcy within the
      last 8 years?                        D Yes.    District _ _ _ _ _ _ _ _ _ When              _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                                  MM/ DD/YYYY

                                                     District _ _ _ _ _ _ _ _ _ When              _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                                  MM/ DD/YYYY

                                                     District _ _ _ _ _ _ _ _ _ When              _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                                  MM/ DD/YYYY



10. Are any bankruptcy                     121 No
      cases pending or being
      filed by a spouse who is             D Yes.    Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship to you
      not filing this case with                      District _ _ _ _ _ _ _ _ _ When              _ _ _ _ _ Case number, if known. _ _ _ _ _ __
      you, or by a business                                                                       MM/DD /YYYY
      partner, or by an
      affiliate?
                                                     Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship to you

                                                     District _ _ _ _ _ _ _ _ _ When              _ _ _ _ _ Case number, if known. _ _ _ _ _ __
                                                                                                  MM/ DD /YYYY
         - - - - - - --------


11. Do you rent your                       D No.  Go to line 12.
      residence?                           ~ Yes. Has your landlord obtained an eviction judgment against you?

                                                     ~ No. Go to line 12.
                                                     D Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                          part of this bankruptcy petition.




     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1       Victoria Lee Meyers                                                                   Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
              First Name        Middle Name            Last Name




            Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                 D No. Go to Part 4.
    of any full- or part-time
    business?                                 liZl Yes. Name and location of business
   A sole proprietorship is a                          Victoria Meyers; I'm the Bookkeeper
   business you operate as an
                                                      Name of business, if any
   individual, and is not a
   separate legal entity such as                       324 Burchwood Bay Rd
   a corporation, partnership, or
                                                      Number        Street
   LLC.
    If you have more than one                          AptA7
    sole proprietorship, use a
    separate sheet and attach it                       Hot Springs National Park                              AR          71913
    to this petition.
                                                       City                                                  State        ZIP Code


                                                      Check the appropriate box to describe your business:
                                                      D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                                      D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                                      D Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                                      ~ None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code, and                      most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                              if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
    are you a small business
    debtor?
    For a definition of small                 IZI No. I am not filing under Chapter 11.
    business debtor, see
    11 u.s.c. § 101 (510).                    D No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
                                              D Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                      Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                              D Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                      Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




  Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                  page4
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Debtor 1      Victoria Lee Meyers                                                              Case number (it known)._ _ _ _ _ _ _ _ _ _ _ _ __
              First Name    Middle Name            Last Name




             Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               !;a No
     property that poses or is
     alleged to pose a threat             □ Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs                             If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                           Number         Street




                                                                           City                                      State    ZIP Code




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                        page 5
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Debtor 1       Victoria Lee Meyers                                                                      Case number (ii known),_ _ _ _ _ _ _ _ _ _ _ _ __
              First Name     Middle Name            Last Name




            Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1 :                                                  About Debtor 2 (Spouse Only in a Joint Case):
1s. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                               You must check one:
   counseling.                             lia I received a briefing from an approved credit                 0 I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                    counseling agency within the 180 days before I
   The law requires that you                  filed this bankruptcy petition, and I received a                  filed this bankruptcy petition, and I received a
   receive a briefing about credit            certificate of completion.                                        certificate of completion.
   counseling before you file for                                                                               Attach a copy of the certificate and the payment
                                              Attach a copy of the certificate and the payment
   bankruptcy. You must
                                              plan, if any, that you developed with the agency.                 plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you               0 I received a briefing from an ~pproved credit                   0 I received a briefing from an approved credit
   cannot do so, you are not                  counseling agency within the 180 days before I                    counseling agency within the 180 days before I
   eligible to file.                          filed this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                        certificate of completion.
    If you file anyway, the court             Within 14 days after you file this bankruptcy petition,           Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                you MUST file a copy of the certificate and payment               you MUST file a copy of the certificate and payment
    will lose whatever filing fee             plan, if any.                                                     plan, if any.
    you paid, and your creditors
    can begin collection activities        0 I certify that I asked for credit counseling                    0 I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                         services from an approved agency, but was
                                              unable to obtain those services during the 7                      unable to obtain those services during the 7
                                              days after I made my request, and exigent                         days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                              of the requirement.                                               of the requirement.
                                              To ask for a 30-day temporary waiver of the                       To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                   requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                 what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                 you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                        bankruptcy, and what exigent circumstances
                                              required you to file this case.                                   required you to file this case.
                                              Your case may be dismissed if the court is                        Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                         briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must             If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.           still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                     You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                 agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                 developed, if any. If you do not do so, your case
                                              may be dismissed.                                                 may be dismissed.
                                              Any extension of the 30-day deadline is granted                   Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                  only for cause and is limited to a maximum of 15
                                              days.                                                             days.

                                           0 I am not required to receive a briefing about                   0 I am not required to receive a briefing about
                                              credit counseling because of:                                     credit counseling because of:

                                              0 Incapacity.      I have a mental illness or a mental            0 Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                          deficiency that makes me
                                                                 incapable of realizing or making                                  incapable of realizing or making
                                                                 rational decisions about finances.                                rational decisions about finances.
                                               0 Disability.     My physical disability causes me               0 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                  to be unable to participate in a
                                                                 briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                 through the internet, even after I                                through the internet, even after I
                                                                 reasonably tried to do so.                                        reasonably tried to do so.
                                               0 Active duty. I ani currently on active military                0 Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                   duty in a military combat zone.

                                              If you believe you are not required to receive a                  If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                 briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.            motion for waiver of credit counseling with the court.




  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1      Victoria Lee Meyers                                                                      Case number (it known)_ _ _ _ _ _ _ _ _ _ _ _ __
             First.Name   Middle Name               Last Name




           Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
   you have?
                                             D No. Go to line 16b.
                                             '21 Yes. Go to line 17.
                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                             '21 No. Go to line 16c.
                                             D Yes. Go to line 17.
                                        16c. State the type of debts you owe that are not consumer debts or business debts.
                                             Student Loans, LOC Loans and Credit Card

11. Are you filing under
    Chapter 7?                          D No. I am not filing under Chapter 7. Go to line 18.
   Do you estimate that after           '21 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is                          administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                                    liZI No
   administrative expenses
   are paid that funds will be                     D Yes
   available for distribution
   to unsecured creditors?

18. How many creditors do               '21 1-49                                     □ 1,000-5,000                         □ 25,001-50,000
   you estimate that you                □ 50-99                                      □ 5,001-10,000                        □ 50,001-100,000
   owe?                                 □ 100-199                                    □ 10,001-25,000                       D More than 100,000
                                        □ 200-999

19. How much do you                     '21 $0-$50,000                               D $1,000,001-$10 million              D $500,000,001-$1 billion
    estimate your assets to             □ $50,001-$100,000                           D $10,000,001-$50 million             D $1,000,000,001-$10 billion
    be worth?                           □ $100,001-$500,000                          D $50,000,001-$100 million            D $10,000,000,001-$50 billion
                                        D $500,001-$1 million                        D $100,000,001-$500 million           D More than $50 billion
20. How much do you                     □ $0-$50,000                                 D $1,000,001-$10 million              D $500,000,001-$1 billion
   estimate your liabilities            '21 $50,001-$100,000                         D $10,000,001-$50 million             D $1,000,000,001-$10 billion
   to be?                               □ $100,001-$500,000                          D $50,000,001-$100 million            D $10,000,000,001-$50 billion
                                        D $500,001-$1 million                        D $100,000,001-$500 million           D More than $50 billion

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                                             Signature of Debtor 2

                                           Executed on 01/08/2025                                            Executed on _ _ _ _ _ __
                                                            MM / DD /YYYY                                                MM / DD /YYYY
                                                        "      -- -- - ·- - ---
                                                  -- --- -----··---    -,-
                                                                            - - .---·-
                                                                                  --- --   -                                               ---   -       -----    -
                                                                                                                                                                 -- -----·
                                                                                                                                                     ·- --- ----·--··-----·


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Debtor 1     Victoria Lee Meyers                                                                   Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name              Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                           Signature of Attorney for Debtor                                                MM         DD /YYYY




                                            Printed name


                                            Firm name



                                            Number      Street




                                            City                                                           State           ZIP Code




                                            Contact phone _ _ _ _ _ _ _ _ _ _ _ _ __                       Email address




                                            Bar number                                                     State




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Debtor 1      Victoria Lee Meyers                                                          Case number (ii known),_ _ _ _ _ _ _ _ _ _ _ _ __
             First Name   Middle Name          Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.

                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        □ No
                                        !;a Yes
                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        □ No
                                        ~ Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        !;a No
                                        □ Yes. Name of Person._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Attach Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.


                                        VictrJ.rUI/ L.Meyer~
                                         Signature of Debtor 1                                      Signature of Debtor 2

                                        Date               01/08/2025                               Date
                                                           MM/ DD   /YYYY                                           MM/     DD /YYYY

                                        Contact phone      (501) 802-7432                           Contact phone

                                        Cell phone         (501) 802-7432                           Cell phone

                                        Email address      victoria@imthebookkeeper.com             Email address



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 ill in this information to identify your case and this filing:


Debtor 1
                    Victoria Lee Meyers
                    First Name                  Middle Name               Last Name

Debtor 2
(Spouse, if filing) First Name                  Middle Name               Last Name


United States Bankruptcy Court for the: Eastern and Western District of Arkansas

Case number
                                                                                                                                              D Check if this is an
                                                                                                                                                 amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    liZ'.I No. Go to Part 2.
    D Yes. Where is the property?
                                                                    What is the property? Check all that apply.
                                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                    D Single-family home                              the amount of any secured claims on Schedule D:
      1.1.                                                                                                            Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description
                                                                    D Duplex or multi-unit building
                                                                    D Condominium or cooperative                      Current value of the      Current value of the
                                                                    D Manufactured or mobile home                     entire property?          portion you own?
                                                                    D Land                                            $_ _ _ _ _ __             $_ _ _ _ __
                                                                    D Investment property
             City                            State      ZIP Code
                                                                    D Timeshare                                       Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                    D Other _ _ _ _ _ _ _ _ _ _ _ __                  the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    D Debtor 1 only
             County                                                 D Debtor 2 only
                                                                    D Debtor 1 and Debtor 2 only                      D Check if this is community property
                                                                                                                         (see instructions)
                                                                    D At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __
    If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.
                                                                                                                      Do not deduct secured claims or exemptions. Put
                                                                   D Single-family home                               the amount of any secured claims on Schedule D:
                                                                                                                      Creditors Who Have Claims Secured by Property.
      1.2.
             Street address, if available, or other description
                                                                   D Duplex or multi-unit building
                                                                   D Condominium or cooperative                       Current value of the      Current value of the
                                                                   D Manufactured or mobile home                      entire property?          portion you own?
                                                                   D Land                                             $_ _ _ _ _ __             $_ _ _ _ _ _ _
                                                                   D Investment property
                                                                   D Timeshare                                        Describe the nature of your ownership
             City                            State     ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                   D Other _ _ _ _ _ _ _ _ _ _ _ __                   the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   D Debtor 1 only
              County                                               D Debtor 2 only
                                                                   D Debtor 1 and Debtor 2 only                       D Check if this is community property
                                                                   D At least one of the debtors and another             (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number: _ _ _ _ _ _ _ _ _ _ _ _ _ __


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Debtor1                                                                                                    Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name     Middle Name            Last Name




                                                                      What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                      D Single-family home                               the amount of any secured claims on Schedule D:
      1.3.                                                                                                               Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description       0 Duplex or multi-unit building
                                                                      0 Condominium or cooperative                       Current value of the     Current value of the
                                                                                                                         entire property?         portion you own?
                                                                      D Manufactured or mobile home
                                                                                                                         $_ _ _ _ _ __            $._ _ _ _ _ __
                                                                      D Land
                                                                      0 Investment property
                                                                                                                         Describe the nature of your ownership
             City                            State      ZIP Code      D Timeshare                                        interest (such as fee simple, tenancy by
                                                                      D Other _ _ _ _ _ _ _ _ _ _ _ __                   the entireties, or a life estate), if known.

                                                                      Who has an interest in the property? Check one.
                                                                      0 Debtor 1 only
             County
                                                                      0 Debtor 2 only
                                                                      0 Debtor 1 and Debtor 2 only                       D Check if this is community property
                                                                                                                             (see instructions)
                                                                      0 At least one of the debtors and another
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __




•§fj            Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     □ No
     lia" Yes

     3.1.    Make:                        Cheverolet                  Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
             Model:                       Impala                      liZl Debtor 1 only                                 Creditors Who Have Claims Secured by Property.
                                          2008                        D Debtor 2 only
             Year:                                                                                                       Current value of the      Current value of the
                                                                      D Debtor 1 and Debtor 2 only
             Approximate mileage:         231,486                                                                        entire property?          portion you own?
                                                                      0 At least one of the debtors and another
             Other information:
                                                                      0 Check if this is community property (see         $- - - 1,825.00
                                                                                                                                ----               $- - - 1,825.00
                                                                                                                                                          ----
                                                                         instructions)



     If you own or have more than one, describe here:

     3.2.    Make:                                                    Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
             Model:                                                   D Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
                                                                      D Debtor 2 only
             Year:                                                                                                       Current value of the      Current value of the
                                                                      D Debtor 1 and Debtor 2 only                       entire property?          portion you own?
             Approximate mileage:                                     0 At least one of the debtors and another
             Other information:
                                                                                                                         $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                      0 Check if this is community property (see
                                                                         instructions)




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Debtor 1                                                                                           Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name       Middle Name       Last Name




   3.3.    Make:                                              Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:
                                                              D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                              D Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
           Approximate mileage:                               D At least one of the debtors and another
           Other information:
                                                                                                                  $_ _ _ _ _ __             $_ _ _ _ _ __
                                                              D Check if this is community property (see
                                                                 instructions)


   3.4.    Make:                                              Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:                                             D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                              D Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
           Approximate mileage:                               D At least one of the debtors and another
           Other information:
                                                                                                                  $_ _ _ _ _ __             $ _ _ _ _ _ _ __
                                                              D Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ~ No
   D Yes

   4.1.    Make:                                              Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:
                                                              D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
           Year:
                                                              D Debtor 1 and Debtor 2 only                        Current value of the      Current value of the
           Other information:                                 D At least one of the debtors and another           entire property?          portion you own?


                                                              D Check if this is community property (see          $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                 instructions)



   If you own or have more than one, list here:

   4.2.    Make:                                              Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:
                                                              D Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                              D Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                              D Debtor 1 and Debtor 2 only                        entire property?          portion you own?
           Other information:                                 D At least one of the debtors and another
                                                                                                                  $_ _ _ _ _ _ __           $_ _ _ _ _ _ __
                                                              D Check if this is community property (see
                                                                 instructions)




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 Debtor1                                                                                                    Case number (if known) _ _ _ _ _ _ _ _ _ _ _ __
                 First Name        Middle Name      Last Name




              Describe Your Personal and Household Items

                                                                                                                                                          Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                          or exemptions.
s. Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
      □ No
      121 Yes. Describe ......... I see attached 20241228_Personal & Household Belongings_VMeyers                                                                      1,595.00
                                                                                                                                                              $- - - - -
                               i                                                                                                                                         ---
7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                collections; electronic devices including cell phones, cameras, media players, games
      □ No
      121 Yes. Describe .......... ! see attached 20241228_Personal & Household Belongings_VMeyers                                                        .   $                        90.00
                               i                                                                                                                              - -
                               ~-------------------------------~                                                                                          I


B. Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      □ No
      121 Yes. Describe. ·········fl (1) 36x36inch painting "Dancing on Pins & Needles" see attached                                                          $- - - - -225.00
                                   20241228 Personal & Household Belongl!!_g~s_V_M_e~ye_r_s_ _ _ _ _ __                                                                 ---
                               1


9. Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                and kayaks; carpentry tools; musical instruments
      □ No
      121 Yes. Describe .......... see attached 20241228_Personal & Household Belongings_VMeyers
                               f
                                                                                                                                                              $- - - - -350.00
                               i                                                                                                                                        ---
10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      □ No
      121 Yes. Describe .......... ! see attached 20241228_Personal & Household Belongings_VMeyers
                               !                                  .                                                                                       j $_ _ _ _2_5_0_.o_o
                                                                                                                                 ------
11.Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      □ No                         --------------------------------
      121 Yes. Describe .......... ! see attached 20241228_Personal & Household Belongings_VMeyers I $_ _ _ _ _37_0_._00_

12.Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                gold, silver
      □ No                     1,-------------
                                                                                                                                                              $                        20.00
      IZI Yes. Describe •••••••••• j see attached 20241228 Personal & Household Belongings VMeyers
                                                                                                                                                          I
                                                                                                                                                          I--------
13. Non-farm animals
      Examples: Dogs, cats, birds, horses

      □ No                     ~
                                                                                                                                                                         20.00
      IZI Yes. Describe •••••••••• j see attached 20241228 Personal & Household Belongings VMeyers                                                            $- - - - - - --
14.Any other personal and household items you did not already list, including any health aids you did not list

      □ No
      121 Yes. Give specific i---                                                  •                                                                  ----/ $_ _ _2_,1_0_0_.o_o
          information .............. J see attached 20241228_Personal & Household Belongings_VMeyers


15.   :a~~~~ :o~~~:~~~~ ~~:~:~ ~:~~ ~~-~~i-~~-~~~.: ~~~-~.'
                                                          ..     ..'.~.~-l-~~.'.~~..~~-~-~~-t~i-~~-~~~-~~-9.~~--~~-~-~~~~-~-~~-~~~.~-·············   ~ I$_ _ _ _ 0_2..c,O_.O'""'O'-
                                                                                                                                                                          5....,,...



 Official Form 106A/B                                           Schedule AIB: Property                                                                                 page4
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Debtor 1                                                                                                                                                    Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name             Middle Name                      Last Name




•Mil            Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                 Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                                            or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   □ No
   liZI~ ................................................................................................................................................................   Cash: .......................                 13.00
                                                                                                                                                                                                             $. _ _ _ _ _ _ __



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.

   □ No
   1;21 Yes .....................                                                                Institution name:


                                              17.1. Checking account:                             Chime Checking                                                                                             $               100.90

                                              17.2. Checking account:                             So-Fi Checking                                                                                             $                 26.73

                                              17.3. Savings account:                              So-Fi Savings                                                                                              $               158.06
                                              17.4. Savings account:                              Chime Savings                                                                                              $                  0.63
                                              17.5. Certificates of deposit:                      CFT Savings (Beyond Finance)                                                                               $               164.99
                                              17.6. Other financial account:                      Found Biz Checking                                                                                         $                  3.48
                                              17.7. Other financial account:                      QB Money Biz Checking                                                                                      $                 92.89
                                              17.8. Other financial account:                      PayPal, Cash Ai::11;1 & Venmo                                                                              $                  0.00
                                              17.9. Other financial account:                      Chime Credit Builder Card                                                                                  $                  5.79



18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   □ No
   liZI Yes.................                  Institution or issuer name:

                                               1.14 SH GME GameStop                                                                                                                                          $_ _ _ _ _ 37.82
                                                                                                                                                                                                                        _ __
                                               Stock Plan 7921 and lndiv Brokerage Acct E-Trade (ESPP)
                                                                                                                                                                                                             $- - - - - -0.00
                                                                                                                                                                                                                         --
                                                       last trade on December 17, 2024 626.90                                                                                                                $_ _ _ _ _ _ _ _




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   liZI No                                    Name of entity:                                                                                                               % of ownership:
   D Yes. Give specific                                                                                                                                                     0%                %              $
        information about
        them ........................ .
                                                                                                                                                                            0%                %              $
                                                                                                                                                                            0%                %              $




Official Form 106A/B                                                                           Schedule A/8: Property                                                                                                    page 5
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Debtor 1                                                                                           Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name          Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   ~ No
   D Yes. Give specific                Issuer name:
       information about
       them ...................... .                                                                                               $._ _ _ _ _ __

                                                                                                                                  $._ _ _ _ _ _ __
                                                                                                                                  $_ _ _ _ _ _ __


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   □ No
   -a Yes. List each
        account separately.            Type of account:           Institution name:

                                       401 (k) or similar plan:
                                                                  Intuit- Empower 401 K                                           $         10,937.89
                                                                                                                                   ----~---
                                       Pension plan:                                                                               $_ _ _ _ _ _ __

                                       IRA:

                                       Retirement account:                                                                        $_ _ _ _ _ _ __

                                       Keogh:                                                                                     $_ _ _ _ _ _ __

                                       Additional account:                                                                         $._ _ _ _ _ __

                                       Additional account:                                                                         $_ _ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   □ No
   ~ Yes ......................... .                         Institution name or individual:
                                       Electric:              Entergy acct# 000204072730                                          $_ _ _ _ _220.00
                                                                                                                                            _ __
                                       Gas:                                                                                       $_ _ _ _ _ _ __
                                       Heating oil:                                                                               $_ _ _ _ _ _ __
                                       Security deposit on rental unit: 324 Burchwood Bay Rd #A7 DMT Properties Lease             $_ _ _ _ _600.00
                                                                                                                                            _ __
                                       Prepaid rent:                                                                              $_ _ _ _ _ _ __

                                       Telephone:                                                                                 $_ _ _ _ _ _ __
                                       water:                 Hot Springs Utility acct# 2342200-002                               $- - - - -100.00
                                                                                                                                            ---
                                       Rented furniture:                                                                          $_ _ _ _ _ _ __

                                       Other:                                                                                     $_ _ _ _ _ _ __



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ~ No
   D Yes..........................     Issuer name and description:
                                                                                                                                  $_ _ _ _ _ _ __
                                                                                                                                  $_ _ _ _ _ _ __
                                                                                                                                  $_ _ _ _ _ _ __



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                                                                    Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
                   First Name          Middle Name                 Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

   ~ No
   D Yes ....................................       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

                                                                                                                                                           $._ _ _ _ _ __
                                                                                                                                                           $. _ _ _ _ _ __
                                                                                                                                                           $._ _ _ _ _ __


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   ~ No
   D Yes. Give specific             ,                                                                                                                  I
        information about them .... i                                     $_ _ _ _ _ _ __
                                    '-----------------------------------~
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ~ No
   D Yes. Give specific                         .                                                                                                      !
        information about them ....             !                                                                                                      1$_ _ __
                                                                                             ---------------------'
27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   ~ No
   D Yes. Give specific                         !                                                                                                      I
        information about them .... :l                                                                                                                 I$
                                                                                                                                                       I--------
                                                '                                  ------------------------'
Money or property owed to you?                                                                                                                             Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

2B. Tax refunds owed to you

   ~ No
   D Yes. Give specific information                                                                                               Federal:             $_ _ _ _ _ _ __
               about them, including whether
               you already filed the returns              1                                                                      State:                $_ _ _ _ _ _ __
               and the tax years ........................ i
                                                                                                                             '    Local:               $_ _ _ _ _ __



29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ~ No
   D Yes. Give specific information .............. !
                                                                                                                                 Alimony:                  $._ _ _ _ _ __
                                                                                                                                 Maintenance:              $_ _ _ _ _ __
                                                                                                                                 Support:                  $_ _ _ _ _ __
                                                                                                                                 Divorce settlement:       $_ _ _ _ _ __
                                                                                                                             , Property settlement:        $_ _ _ _ _ __

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
             Social Security benefits; unpaid loans you made to someone else
   ~ No
   D Yes. Give specific information............... ~
                                                                                                                                                           $_ _ _ _ _ _ _ __
                                                               I
 Official Form 106NB                                                           Schedule A/B: Property                                                               page 7
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Debtor 1                                                                                                Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name       Middle Name                Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners, or renter's insurance
   □ No
   ~ Yes. Name the insurance company                        Company name:                                  Beneficiary:                                     Surrender or refund value:
             of each policy and list its value ....
                                                            Life and AD&D Securian Financial Gr DeSere BArrow                                                          0.00
                                                                                                                                                            $- - - - - -  -
                                                            Via Benefits FSA                                                                                $               240.78
                                                                                                                                                             --------
                                                                                                                                                            $_ _ _ _ _ _ __

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   ~ No
   D Yes. Give specific information .............. ,
                                                        i                                                                                                   $_ _ _ _ _ _ __


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   ~ No
   D Yes. Describe each claim ..................... i
                                                        I                                                                                                   $._ _ _ _ _ _ _ __

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   ~ No
   D Yes. Describe each claim .................. ...1


35. Any financial assets you did not already list

   ~ No                                             -,-------                                                                                           i

   D Yes. Give specific information ............ !                                                                                                      I $,_ _ _ _ _ _ __
                                                    -------------·----------------~




             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   ~ No. Go to Part 6.
   D Yes. Go to line 38.
                                                                                                                                                        Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured claims
                                                                                                                                                        or exemptions.

38.Accounts receivable or commissions you already earned
   ~ No
                                                                                                                                           ·-·~ ·-·-f



                                                                                                                                                    ~·-----
39. Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   0 No
   ~ Yes. Describe .......i1see attac hed 20241228_ Busmess-
                                                       •     Re Iat edP rope rty _VM eyers
                                                                                                                                                   1
                                                                                                                                                    $_ _ _ _1_,_93_0_._oo_




Official Form 106A/B                                                    Schedule A/8: Property                                                                         page 8
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Debtor1                                                                                                                                       Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name           Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     □ No
     iaa' Yes. Describe •••••••I!see attached 20241228_ Busmess-
                                                           •     ReIatedP rope rty _VM eyers                                                                                                                        300.00


41. Inventory
     i;1 No
     0 Yes. Describe .......j
                                      I

                                      i                                                                                   ---------------~                                                       r----
42. Interests in partnerships or joint ventures
     iaa' No
     0 Yes. Describe .......              Name of entity:                                                                                                             % of ownership:
                                                                                                                                                                      _ _ _%                     $_ _ _ _ _ _ _ __
                                                                                                                                                                      _ _ _%                     $_ _ _ _ _ _ _ __
                                                                                                                                                                      _ _ _%                     $_ _ _ _ _ _ _ __


43. Customer lists, mailing lists, or other compilations
    i;1 No
     0 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                  □ No
                  □ Yes. Describe ....... .
                                                                                       \s _ _
                                                      ~-------------------------------'
44.Any business-related property you did not already list
   i;1 No
     □ Yes.Give specific
                                                                                                                                                                                                     $
       information ........ .
                                                                                                                                                                                                     $

                                                                                                                                                                                                     $

                                                                                                                                                                                                     $

                                                                                                                                                                                                     $

                                                                                                                                                                                                     $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here ....................................................................................................................................................   -+ I$              2,230.00       I

                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                   If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     laa' No. Go to Part 7.
     0 Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                 or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
     !;a No
     □~..........................                                                                                                                                                                I
                                          L_____________________________________                                                                                                                 I $________
 Official Form 106A/B                                                                   Schedule A/8: Property                                                                                                page 9
                6:25-bk-70035     Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 19 of 64
                  Victoria Lee Meyers
 Debtor 1                                                                                                                                         Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name            Middle Name                   Last Name




48. Crops-either growing or harvested
     liZl No
     D Yes. Give specific
          information ............. •                                                                                                                                                                     $_ _ _ _ _ _ __

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    liZl No
    D Yes ..........................
                                        1
                                        I                                                                                                                                                                 $._ _ _ _ _ _ __

50. Farm and fishing supplies, chemicals, and feed
     liZl No
     D Yes ..........................
                                        1

                                        L___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,
                                                                                                                                                                                                          1$_ _
51. Any farm- and commercial fishing-related property you did not already list
     liZl No
     D Yes. Give specific I
           information ............ .                                                                                                                                                                     $_ _ _ _ _ _ __


                                                                                                                                                                                                          $· - - - - - -0.00
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here ....................................................................................................................................................     -+                       --



                   Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

     liZl No                                                                                                                                                                                               $_ _ _ _ _ __
     D :es. Gi~e specific               1
           information. ············1                                                                                                                                                                      $_ _ _ _ _ __

                                        I                                                                                                                                                                  $_ _ _ _ _ __


54.Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                            -+         $- - - - -0.00
                                                                                                                                                                                                                     --


•§ff               List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 .............................................................................................................................................................. ,+   $_ _ _ _ _0_.O_O_

56. Part 2: Total vehicles, line 5                                                                                $.___1_,a_2_5._o_o

57. Part 3: Total personal and household items, line 15                                                           $.___2_,6_9_5._o_o

58. Part 4: Total financial assets, line 36                                                                       $._ _1_2_,7_0_2._9_6

59. Part 5: Total business-related property, line 45                                                              $. _ _ _2_,2_3_0._0_0

60. Part 6: Total farm- and fishing-related property, line 52                                                     $· - - - - - - -
                                                                                                                                          0.00

61. Part 7: Total other property not listed, line 54                                                           +$                         0.00
                                                                                                                   ·-------
62. Total personal property. Add lines 56 through 61. ....................                                    !L.$._ _ _19452.961
                                                                                                                         _,_ _ _ Copy personal property total                                      -+ • + $._ _ _1945296
                                                                                                                                                                                                                  _, __• _
                                                                                                                                                    1




63. Total of all property on Schedule A/B. Add line 55 + line 62 ..........................................................................................                                                    19_,4_5_2._96_
                                                                                                                                                                                                          $_ _ _



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                   page 10
            6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 20 of 64
 Fill in this information to identify your case:

 Debtor 1          Victoria Lee Meyers
                     First Name                 Middle Name               Last Name


 Debtor2
 (Spouse, if filing) First Name                 Middle Name               Last Name


 United States Bankruptcy Court for the: Eastern and Western District of Arkansas

 Case number                                                                                                                               0 Check if this is an
  (If known)
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                 Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      0 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ~ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule AIB that lists this property                  portion you own
                                                              Copy the value from     Check only one box for each exemption.
                                                              Schedule AIB

      Brief
                                  2008 Chev lm1;2ala                                                                           11 USC§§ 522(d)(2)
      description:
                                                              $1,825.00               0$
      Line from                                                                       liZl 100% of fair market value, up to
      Schedule AIB:               5                                                      any applicable statutory limit


      Brief
                                  Personal & Househol         $5,020.00                                                        11 USC§§ 522(d)(3),
      description:                                                                    0$                                        522(a)(d)(11 )(e)(f)(1 )(B)(i)
      Line from                                                                       liZl 100% of fair market value, up to
                             ..15...._
      Schedule AIB:                                                                      any applicable statutory limit

      Brief
                                  Cash                        $ 13.00                                                          11 U.S.C. § 522(a)(3)(d)(5)
      description:                                                                    0$
      Line from                                                                       ~ 100% of fair market value, up to
      Schedule AIB:          ...1£._                                                    any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

      lif No
      0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        0 No
        0 Yes


Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                         page 1 of~
           6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 21 of 64
Debtor 1      Victoria Lee Meyers                                                              Case number (if known), _ _ _ _ _ _ _ _ _ _ _ __
              First Name        Middle Name      Last Name




•Mil         Additional Page

      Brief description of the property and line         Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule AIB that lists this property           portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule AIB

     Brief
                                                                                                                        11 U.S.C. § 522(a)(3)(d)(5)
                           Deposits of Money                 $       553.47     0$
     description:
     Line from             17                                                   ~ 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit

     Brief                                                                                                              11 U.S.C. § 522(a)(3}(d)(5)
     description:
                           1.14 Sh Stock: GME                $         37.82    0$
     Line from                                                                  ~ 100% of fair market value, up to
                           18                                                      any applicable statutory limit
     Schedule A/B:


     Brief                                                                                                               11 U.S.C. § 522(a)(3)(c),
                           401 K- Retirement                      10,937.89     0$                                      522(a)(4)(A)
     description:                                            $-----'----
     Line from             21                                                   laa' 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit

     Brief                                                                                                              11 U.S.C. §
                           Security Deposits                         920.00
                                                             $._ _ _ _ __       0$                                      522(b )(2)(a)(3)(B)
     description:
     Line from             22                                                   laa' 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit

     Brief                                                                                                               11 use§§
                           Term Life Ins (50K)                         0.00
                                                             $._ _ _ _ _ _      0$                                      522( d)(7)522( d)(8)
     description:
     Line from                                                                  laa' 100% of fair market value, up to
                           31                                                      any applicable statutory limit
     Schedule AIB:

     Brief                 FSA Account                                                                                  11 U.S.C. § 522(a)(3}(d)(5)
                                                                     240.78
                                                             $._ _ _ _ __       0$
     description:
     Line from             31                                                   laa' 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit

     Brief                                                                                                              11 USC§§ 522(d)(6),
                           Office Equip & Furn                      1,930.00
                                                             $· - - -           0$ _ _ __
     description:                                                     ---                                               522(a)(d)(11 )(e)(f)(1 )(B)(ii)
     Line from             39                                                   laa' 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit

     Brief                                                                                                              11 USC§§ 522(d)(6),
                           Machine & fixtures            $_ _ _3_0_0._0_0       0$ _ _ __
     description:                                                                                                       522(a)(d)(11 )(e)(f)(1 )(B)(ii)
     Line from                                                                  laa' 100% of fair market value, up to
     Schedule A/B:
                           4o                                                      any applicable statutory limit


     Brief
     description:
                                                         $_ _ _ _ __            0$ _ _ __
     Line from                                                                  0 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit

     Brief
     description:
                                                         $_ _ _ _ __            0$ _ _ __
     Line from                                                                  0 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit

     Brief
     description:
                                                         $_ _ _ _ __            0$ _ _ __
     Line from                                                                  0 100% of fair market value, up to
     Schedule A/B:                                                                 any applicable statutory limit


     Brief
     description:
                                                         $_ _ _ _ __            0$ _ _ __
     Line from                                                                  0 100% of fair market value, up to
     Schedule AIB:                                                                 any applicable statutory limit



Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                      pagel._of~
                   6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 22 of 64

    Fill in this information to identify your case:


    Debtor 1
                      Victoria Lee Meyers
                       First Name                 Middle Name                  Last Name

     Debtor 2
     (Spouse, Wfiling) First Name                 Middle Name                  Last Name


     United States Bankruptcy Court for the: Eastern and Western District of Arkansas

     Case number
     (If known)                                                                                                                                     D Check if this is an
                                                                                                                                                        amended filing


    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
    additional pages, write your name and case number (if known).

    1. Do any creditors have claims secured by your property?
          ~ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          0 Yes. Fill in all of the information below.

                   List All Secured Claims
                                                                                                             Column A                       ColumnB                Column C
    2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                 ,Value of collateral   Unsecured
       for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the              •that supports this    portion
       As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.           ·claim                 If any
    2.1                                                                                                                    $._ _ _ _ _ __
                                                            Describe the property that secures the claim:                                    $_ _ _ _ _ _ _ $._ _ _ __
          Creditor's Name


          Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
                                                            D Contingent
                                                            D Unliquidated
          City                       State   ZIP Code
                                                            D Disputed
      Who owes the debt? Check one.                         Nature of lien. Check all that apply.
      D Debtor 1 only                                       D An agreement you made (such as mortgage or secured
      D Debtor 2 only                                           car loan)
      D Debtor 1 and Debtor 2 only                          D Statutory lien (such as tax lien, mechanic's lien)
      D At least one of the debtors and another             D Judgment lien from a lawsuit
                                                            D Other (including a right to offset) _ _ _ _ _ _ __
      D Check if this claim relates to a
            community debt
      Date debt was incurred                                Last 4 digits of account number
rn
I
                                                            Describe the property that secures the claim:                  $_ _ _ _ _ __     $_ _ _ _ _ _ _ $._ _ _ __
          Creditor's Name


          Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            D Contingent
                                                            D Unliquidated
          City                       State   ZIP Code       D Disputed
      Who owes the debt? Check one.                         Nature of lien. Check all that apply.
      D Debtor 1 only                                       D An agreement you made (such as mortgage or secured
      D Debtor 2 only                                           car loan)
      D Debtor 1 and Debtor 2 only                          D Statutory lien (such as tax lien, mechanic's lien)
      D At least one of the debtors and another             D Judgment lien from a lawsuit
                                                            D Other (including a right to offset) _ _ _ _ _ _ __
      D Check if this claim relates to a
             community debt
      Date debt was incurred                                Last 4 digits of account number ___ --. -.___
          Add the dollar value of your entries in Column A on this page. Write that number here:


     Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of~
             6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 23 of 64
Debtor1
               Victoria Lee Meyers                                                                     Case number (ifknawn) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name     Middle Name          Last Name



                                                                                                                   Column A               ColumnB                   Column C
             Additional Page
                                                                                                                   Amount of claim        Value of collateral       Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                      Do not deduct the      that supports this        portion
             by 2.4, and so forth.                                                                                 value of collateral.   claim                     Jfany

                                                    Describe the property that secures the claim:                  $                      $                     $
   Creditor's Name


   Number            Street


                                                    As of the date you file, the claim is: Check all that apply.
                                                    □ Contingent
   City                         State    ZIP Code   □ Unliquidated
                                                    □ Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 □ Debtor 1 only                                    □ An agreement you made (such as mortgage or secured
 □ Debtor 2 only                                      car loan)
 □ Debtor 1 and Debtor 2 only                       □ Statutory lien (such as tax lien, mechanic's lien)
 □ At least one of the debtors and another          □ Judgment lien from a lawsuit
                                                    □ Other (including a right to offset) _ _ _ _ _ _ __
 □ Check if this claim relates to a
   community debt

 Date debt was incurred _ _ _ __                    Last 4 digits of account number _        __ _


                                                    Describe the property that secures the claim:                  $_ _ _ _ _ __          $_ _ _ _ _ _ _ $._ _ _ __
   Creditor's Name


   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
                                                    □ Contingent
                                                    □ Unliquidated
   City                         State    ZIP Code
                                                    □ Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. C_heck all that apply.
 □ Debtor 1 only
                                                    □ An agreement you made (such as mortgage or secured
 □ Debtor 2 only                                         car loan)
 □ Debtor 1 and Debtor 2 only                       □ Statutory lien (such as tax lien, mechanic's lien)
 □ At least one of the debtors and another          □ Judgment lien from a lawsuit
                                                    □ Other (including a right to offset) _ _ _ _ _ _ __
 □ Check if this claim relates to a
   community debt

 Date debt was incurred                             Last 4 digits of account number _        __ _



p~----
   Creditor's Name
                                                    Describe the property that secures the claim:                  $_ _ _ _ _ __          $_ _ _ _ _ _ _ $._ _ _ __



    Number           Street


                                                    As of the date you file, the claim is: Check all that apply.
                                                    □ Contingent
   City                         State    ZIP Code   □ Unliquidated
                                                    □ Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 □    Debtor 1 only                                 □ An agreement you made (such as mortgage or secured
 □    Debtor 2 only                                   car loan)
 □    Debtor 1 and Debtor 2 only                    □ Statutory lien (such as tax lien, mechanic's lien)
 □    At least one of the debtors and another       □ Judgment lien from a lawsuit
                                                    □ Other (including a right to offset) _ _ _ _ _ _ __
  □ Check if this claim relates to a
    community debt
  Date debt was incurred _ _ _ _ _                  Last 4 digits of account number _        __ _

           Add the dollar value of your entries in Column A on this page. Write that number here: i:l$=======l
            If this is the last page of your form, add the dollar value totals from all pages.
          __W..rJteJhat__!ll!J!:!ber h~e: __ _________________ ·--           _ _ _ _ _ ___    _                    1.:.$======:=1.._ _ _ _ _ _ _ _ _ _ _ ___J

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ~ of~
             6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 24 of 64
Debtor1
               Victoria Lee Meyers                                                             Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name     Middle Name        Last Name


                List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
 you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
 be notified for any debts in Part 1, do not fill out or submit this page.


□                                                                                         On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number        Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number         Street




      City
□-----------                  ------~-~~ ---~-----------~---
                                                    State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number         Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number         Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number         Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                Last 4 digits of account number _ _ _ _


      Number         Street




      City                                          State         ZIP Code



Official Form 106D                          Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             page~of_
         6:25-bk-70035 A&B_Business-RelatedProperty_
20250108_Form_B106_Sched Doc#: 1 Filed: 01/08/25 Entered:
                                                    VMeyers 01/08/25 16:44:21                            Page 25 of 64


                Part5_Form106_SchedA-B_Business-Related
                                Property


                                                                  Value
                None                                                      0.00
                                                         Total            0.00




                Accounts receivable or commissions
                none                                                      0.00


                                                          Total           0.00

                    -          .

               _9!!i_(?~_ ~9~ipm~nt, f~-~~ishi_n_g~, an~ Sl:IJJPlies
                office electric desk                                 200.00
                ----                -
                4 fl desk                                             50.00
                3 fl desk                                             25.00
               _printer _shelf                                        75.00
                Amazon desk chairs                                    50.00
                desk chair from Intuit-
               ,______                                               150.00
               -~~r_1:1P La_ptop WI 1Okey                            400.00
                Silver HP Laptop.                                    200,00
                PulJll! HP L,aptop (needs repair)                     50,00
                Asus monitor                                         150.00
                Cannon Image Class printer                            30.00
                Cannon Pro 100 printer                               100.00
                Epson large scanner                                   50,00
                iPhone13 Pro Max                                     250.00
                Misc Cables,_ Small Equipment                        100.00
                Office sup_p~es and Adspe_cs Etc                      50.00
                                                          Total     1,930.00



                l'!'l~c~!nel)', fixtur~i:;, ~9l:'ipment, sup_p_l_i~i:; you use in busi_ne!;~, ~n~_t~ols ofyotJr_tr_~~e
                cannon eos4                                          150.00
                camera gear/back.drops                               100.00
                tent                                                  50.00
                                                          Total      300.00


                Inventory
                                                          Total           0.00


                Interests in partne~h_ips or joint ventures


                                                          Total           0.00




                Customer lists, mailing lists, or other compilations
                                                          Total           0.00




                Any business-related property you did not already list
                                                          Total           0.00




               Any other personal and
               household items you did not
               already list, including any
               health aids you did not list
                                                          Total           0.00


                                                    Grand Total                  300.00



                Business Related Property




1/8/2025                                                                                                                 1
         6:25-bk-70035 A&B_Personal
20250108_Form_B106_Sched Doc#: 1 Filed: 01/08/25
                                    & Household    Entered:
                                                Belongings_  01/08/25 16:44:21
                                                           VMeyers                                                                                             Page 26 of 64



                                    Part3 Form106- SchedA-B- Personal &
                                           Household Belongings                               ------       -   -                     ~--·------




             •Household Goods & Furnishings
             ' -        ------ -       - -- -      -                       .        -        -     --- - -             -- -      -- ·----,--·-
                                                                                                                                                 Value
              Washer and Dryer                                                                                                                      200.00
              Queen Mattress and frame                                                                                                              100.00
               · · - - ---- --------                         -- -                       -

              Sofa                                                                                                                                   75.00
              Chaise                                                                                                                                100.00.
              rocking chair                                                                                                                          25.00
               ---------·.                              --
              Peacock Side Chair                                                                                                                     50.00
              Round Dinette table and 2 chairs                                                                                                      120.00
              Tall kitchen center and two barstools                                                                                                 250.00 •
                   ------·   --· --- - - - - - - - - - - - - . • - ' " " " • - ·------·-- ~--------- - - -
              1 small shelf, 1 med shelf, 1 larger shelf, 1 tall shelf                                                                              150.00
                  - ------ - -·------- - - -- ---- -- -·-    -

              2 Orange fabric Benches                                                                                                               100.00
                   blender                                                                                                                           30.00
              slow cookers                                                                                                                           30.00
              air fryer                                                                                                                              25.00
              toaster oven                                                                                                                           15.00
              coffee pot                                                                                                                             15.00
              -------------

              electric teakettle                                                                                                                     10.00
                   --           -     ----         --        .
              crockery ( I made in college)                                                                                                         200.00
               Misc melamine & Plastic ware dishes, glasses and cups ..                                                                             100.00
                                                        -        -             --           --·



                                                                                                                              Total                1,595.00




               Electronics
              20inch Roku TV                                                                                                                         30.00
               32inch Roku TV                                                                                                                        60.00
                                                                                                                              Total                  90.00


               Collectibles of value
                                    (1) 36x36inch painting "Dancing on Pins & Needles"                                                              225.00
                                                                           --   -             -                    -
                                                                                                                              Total                 225.00




               Equipment for Sports & Hobbies                        - .                               -




1/8/2025                                                                                                                                                                       1
         6:25-bk-70035 A&B_Personal
20250108_Form_B106_Sched Doc#: 1 Filed: 01/08/25
                                    & Household     Entered:
                                                Belongings_  01/08/25 16:44:21
                                                           VMeyers                                                         Page 27 of 64


              art easel                                                                                        100.00
              --------·-

              art supplies                                                                                     100.00
              ·---·-- -----------

              acoustic guitar                                                                                  150.00.
               ··--·- -----·-       --
                                                                                                  Total:       350.00:
                                                                                                                ---   --



               Firearms
                    --- --·- -···----------
               Smith & Wesson SO9                                                                              250.00
                -            ·-         - -··- --- -      ----
                                                                                                  Total'       250.00



               Clothing
               - - - - . --·--·--- -------

               §~ery~_c:1_¥ Cl~th_in~                                                                          300.00 •
               Shoes                                                                                            50.00-
                ------·-        -


              Accessories                                                                                       20.00
                                                                                                  Total        370.00




               Jewelry
               Costume         jewelry                                                                          20.00
                - - .. --- - - - -- - --
                                                                                                  Total:        20.00




               Non-Farm Animals
               Pets (2Cats)
                       .
                            Rescues
                              --
                                                                                                                20.00
                                                                                                  Totai:        20.00




               Any other personal and
               household items you did not
               already list, including any
               health
                   -
                      aids you did not list
                                ·- --                  ----
                    12 canvas paintings (various sizes) created by me (hobby)                                 1,200.00
                                                         -- ---    --          - . --       ---

                                                         8 pottery
                                                             -
                                                                   sculpture created
                                                                                 . -
                                                                                     by me
                                                                                         -
                                                                                           (hobby)             400.00
              ; hand prints, drawings, and charcoals created by me (hobby)                                     500.00
                                                              --                              -    - --   -
                                                                                                  Total       2,100.00


                                                                                        Grand Total                           5,020.00




1/8/2025                                                                                                                                   2
                                                                           --   -----   -   -----




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20250108 Form B122A-1 _ 6mos lncomeCalculation_VMeyers
            -         -
     ' Net Income All Sources                                                                                             I'm the Bookkeeper Net Income Calculation
        -- -

     1
         Pay Date           : Gross Wages    Net Income/Sole Prop 'Cont from Unmarried Partner : ES PP/Sell               Gross Income -Sole Prop Total Expenses      OffNeh Exp      Net Income
                12/1/2024 !                                            $                    1,000.00
         11/31/2024                          $             796.59                                                         $              1,593.75    $      370.09    $     427.07    $      796.59
             11i29i2O24 i $       1,623.49
             11/15/2024 ; $       1,537.37
              11/1/2~?_4 $- I     1,529.46                             $                    1,000.00
             10/31/2024:                     $            (653.05)                                                        $                          $      340.79    $     312.26    $     (653.05)
             10/18/2024 I $       1,561.51
                10/4/2024 i $     1,614.98
             10/1/2024 •                                               $                     500.00
     : 09/31/2024                            $            (176.07)                                                        $                875.00    $      779.69    $     271.38    $     (176.07)
                9/20/2024 ; $     1,426.25
                9/11/2024:                                                                             $    478.99
                 9/6/2024 i $     1,554.40
                 9/1/2024,                                             $                     500.00
                8/31/2024                    $             460.23                                                         $              1,380.00    $      690.70    $     229.07    $      460.23
                8/23/2024 I $     1,566.66
                 8/9/2024 ! $     1,692.40
                 8/1/2024                                              $                     500.00
                7/31/2024 •                  $           3,065.29                                                         $              3,910.40    $      244.76    $     600.35    $    3,065.29
                7/26/2024' $      1,724.09
                7/12/2024 • $     1,583.77
                 7/1/2024,                                             $                     500.00
         06/31/2024                          $            (457.83)'                                                       $                          $      153.53    $     304.30    $     (457.83)
               6/28/2024 i $      1,888.69
                6/14/2024 I $     1,609.24
                            :
                6/12/2024                                                                              $    613.79
                 6/1/2024 I                                            $                     500.00
                ---~------- I
                5/31/2024 i $     1,848.69 I $          (1,736.36) i                                                      $                         ,$    3,011.75                    $    (3,011.75)
     : 6 mos totals         :$   22,761.00 : $           1,298.80 : $                       4,500.00 , $   1,092.78       $              7,759.15 ; $     5,591.31    $    2,144.43   $        23.41
         Monthly Income : $       3,793.50 $               216.47      $                     750.00    $    182.13    $   $              1,293.19    $      931.89    $     357.41    $        3.90




1/8/2025                                                                                                                                                                                                1
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                                                                                                                                                 Nan-Priority
               Creditor                                Bus/Pers    last4Acct#        ,Address                  Amount Owed      Date Incurred    Type           Standing      Reaffirmation? Notes
                                                                                                                                                                                            This business subscription is in good standing and
                                                                                                                                                                                            I intend to continue paying it for the good of my
                                                                                     '345 Park Avenue                                                                                       business without interruption. I would like to
                                                                                     ; San Jose, CA                                                             In Good                     exclude this debt from my Ch7 _dissolution- or I will
     '4,1      Adobe Inc,                              Business   ·6cus              '95110-2704                      $25.00        01/04/2025 ' Subscription   Standing      yes           reaffirm the debt with the creditor as neccessary
                                                                                                                                                                                            This business debt is in good standing and I intend
                                                                                     , 30 Isabella Street,                                                                                  to continue paying it for the good of my business
                                                                                     ,4th Floor                                                                                             without interruption. I would like to exclude this
                                                                                     IPittsburgh, PA                                                            In Good                     debt from my Ch7 dissolution- or I will reaffirm the
      4.2      Affirm Inc.                             Business    VFFZ                  15212                        $85.79        05/11/2024 Loan             Standing      yes           debt with the creditor as neccessary
                                                                                                                                                                                            This business debt is in good standing and I intend
                                                                                         30 Isabella Street,                                                                                to continue paying it for the good of my business
                                                                                         4th Floor                                                                                          without interruption. I would like to exclude this
                                                                                         Pittsburgh, PA                                                         In Good                     debt from my Ch7 dissolution- or I will reaffirm the
      4.3      Affirm Inc.                         : Business      DDAO                  15212                       $273.73        11/05/2024 ' Loan           Standing      yes           debt with the creditor as neccessary
                                                                                     iFLAT/RM 0512/F
                                                                                     , Empress Plaza
                                                                                                                                                                                            This business subscription is in good standing and
                                                                                     'No.17-19                                                                                              I intend to continue paying it for the good of my
                                                                                     : Chatham Road                                                                                         business without interruption. I would like to
                                                                  • Aggie com/bill   'TST KL 999077                                                             In Good                     exclude this debt from my Ch7 dissolution- or I will
      4.4      AIWIT Eken Group Ltd                , Business       fil_j_           :Hong Kong                       $28.99        03/28/2024 Subscription     Standing      yes           reaffirm the debt with the creditor as neccessary
                                                                                                                                                                                            This business subscription is in good standing and
                                                                                     'P.O. Box 81226,                                                                                       I intend to continue paying it far the good of my
                                                                                                                                                                                            business without interruption. I would like to
                                                                                     Seattle, WA                                                                                            exclude this debt from my Ch7 dissolution- or I will
                                                                                                                                                                In Good
      4,5      Amazon Prime                            Business                      98108                            $16.79                     Subscription   Standing      yes           reaffirm the debt with the creditor as neccessary
                                                                                    Synchrony Bank/
                                                                                    Amazon: PO Box
                                                                                    71711, Philadelphia,
      4.6      Amazon Store Card/ Synchrony Bank   •Personal                  4488' PA 19176 -1711                 $3,364.00        06/23/2021 credit card      Charged Off   no
                                                                                                                                                                                            This personal subscription is in good standing and
                                                                                                                                                                                            I intend to continue paying it for entemtainment
                                                                                     11 Penn Plaza,                                                                                         without interruption, I would like to exclude this
                                                                                     11th Floor, New                                                            In Good                     debt from my Ch7 dissolution- or I will reaffirm the
      4.7      AMC+                                    Personal                      York, NY 10001,                   $9,70                     subscription   Standing      yes           debt with the creditor as neccessary
                                                                                         Goldman Sachs
                                                                                     , Bank USA, Apple
                                                                                         Card, Salt Lake
                                                                                     City Branch,
                                                                                     Lockbox 6112,
                                                                                     : PO Box 7247,
                                                                                     : Philadelphia, PA
      4.8      Apple Card                          ·Personal                         19170-6112                    $3,777.50        06/28/20231 Credit Card     Charged Off   no
                                                                                                                                                                                            This personal subscription is in good standing and
                                                                                     , P.O. Box 81226,                                                                                      I intend to continue paying it for entemtainment
                                                                                                                                                                                            without interruption. I would like to exclude this
                                                                                     'Seattle, WA                                                               In Good                     debt from my Ch7 dissolution- or I will reaffirm the
      4.9      Audible                                 Personal                      98108                            $16.37                     subscription   Standing      yes           debt with the creditor as neccessary
                                                                                     222 W Merchandice 1
                                                                                   ; Plaza, Ste 990,
     ,4.10     Avant/Webbank                           Personal               9097 I Chicago, IL 60654               $351.53        03/05/2024 I credit card    In Default    no
                                                                                                                                                                                            This business subscription is in good standing and
                                                                                     : Pikrtova 1737/1a,                                                                                    I intend to continue paying it for the good of my
                                                                                     1140 00 Prague 4,                                                                                      business without interruption. I would like to
                                                                  Premium Anti-      I Nusle, Czech                                                             In Good                     exclude this debt from my Ch7 dissolution- or I will
     ·4.11     Avast                               1
                                                       Business   Virus              :Republic                        $35.88        03/10/20241 subscription    Standing      yes           reaffirm the debt with the creditor as neccessary
                                                                                                                                                                                            This business subscription is in good standing and
                                                                                     !Pikrtova 1737/1a,                                                                                     I intend to continue paying it for the good of my
                                                                                  , 140 00 Prague 4,                                                                                        business without interruption. I would like to
                                                                                     I
                                                                                    Nusle, Czech                                                                 In Good                    exclude this debt from my Ch7 dissolution- or I will
      4.12     Avast                               . Business      Driver Updater ,Republic                           $25.00:       03/10/2024 ! subscription   :Standing     yes           reaffirm the debt with the creditor as neccessary




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                                                                                        : 3212 E. Cesar
                                                                                        ; Chavez Street,                                                                                  This business subscription is in good standing and
                                                                                        !Building 1, Suite                                                                                I intend to continue paying it for the good of my
                                                                                        , 1300 Austin Texas                                                                               business without interruption. I would like to
                                                                       ,04102-          !78702 United                                                                In Good              exclude this debt from my Ch? dissolution- or I will
      4.13     Canva                                       Business    '55580229        :states                              $15.00   03/26/2024 subscription        Standing       yes   reaffirm the debt with the creditor as neccessary
                                                                                        : Attn: Payment
                                                                                        1
                                                                                            Processing
                                                                                         PO Box 71083
                                                                                       , Charlotte, NC
     •4.14     Capital One Bank                            Personal                2815128272-1083                     $2,573.10      08/1112022 ' credit card       In Default     no
                                                                                        , Concora Credit, PO
                                                                                          Box 4477,
                                                                                        , Beaverton, OR
      4.15     CB Indigo                                   Personal                6713 I 97076-4477                        $719.06   10/25/2021 credit card         In default     no
                                                                                                                                                                                          This business subscription is in good standing and
                                                                                        IFlowrate Limited 19                                                                              I intend to continue paying it for the good of my
                                                                                        I Dikaiosynis                                                                                     business without interruption. I would like to
                                                                                        I
                                                                       : research/marke 2324 Lakatameia                                                              In Good              exclude this debt from my Ch? dissolution- or I will
      4.16     ChatboxAI                                  , Business   !ting            , Cyprus                :39.99/yr             06/18/2024: subscription       Standing       yes   reaffirm the debt with the creditor as neccessary
                                                                                                                                                                                          This is basically a prepaid debit card- not really a
                                                                                                                                                                                          credit card. It is just in my Chime account where I
                                                                                                                                                                                          can transfer money and try to boost my credit
                                                                                                                                                                                          score by using it instead of the checking account
                                                                                                                                                                                          and then they report my transfers as payments.
                                                                                                                                                                                          This personal subscription is in good standing and
                                                                                        101 California                                                                                    I intend to continue paying it without interruption. I
                                                                                        Street, Suite 500,                                                                                would like to exclude this debt from my Ch?
                                                                                        San Francisco, CA                                        pre-paid credit     In Good              dissolution- or I will reaffirm the debt with the
      4.17     Chime - Stride Bank                         Personal                2664194111                                 $0.00   12/26/2021 card                Standing       yes   creditor as neccessary
                                                                                        'Citi Bank Box 6500
                                                                                          Sioux Falls, SD
                                                                                        ,57117 (LVNV
                                                                                        , Funding LLC Care
                                                                                          of Resurgent
                                                                                          Capital Services L.
                                                                                        : P PO Box 1269                                           Collection
                                                                                          Greenville, SC                                          Agency/Credit      Collections/Cha      This debt has a writ of garnishment in force at my
      4.18     Citi Bank Credit Card - LVNV Funding LLC   Personal                        29602)                       $1,613.00      06/28/2023 •Card               rged Off Debt   no   employer
                                                                                                                                                                                          This is my home, leased from DMT Properties at
                                                                                                                                                                                          990. 00 per month. My rent is current and I intend
                                                                                                                                                                                          to continue paying it. I would like to exclude this
                                                                                        218 4th St, Hot                                           personal            In Good             debt from my Ch? dissolution- or I will reaffirm the
      4.19     DMT Properties                             Personal     AptA7            Springs, AR 71913              $8,910.00      10/25/20241 residential lease I Standing      Yes   debt with the creditor as neccessary
                                                                                                                                                                                          This is a loan from my 401 K. This personal loan is
                                                                                                                                                                                          in good standing and I intend to continue paying it
                                                                                                                                                                                          without interruption. I would like to exclude this
                                                                                                                                                                   In Good                debt from my Ch? dissolution- or I will reaffirm the
      4.20     Empower Intuit Inc. 401 k Loan 1           Personal     ·Loan 1                                        $1,591.98       11/19/2023 1Loan from 401K i Standing         Yes   debt with the creditor as neccessary
                                                                                                                                                                                          This is a loan from my 401 K. This personal loan is
                                                                                                                                                                                          in good standing and I intend to continue paying it
                                                                                                                                                                                          without interruption. I would like to exclude this
                                                                                                                                                                    In Good               debt from my Ch? dissolution- or I will reaffirm the
      4.21     Empower Intuit Inc. 401 K Loan 2           • Personal   Loan2                                          $1,178.08       02/08/2024 •Loan from 401 K I Standing        Yes   debt with the creditor as neccessary
                                                                                                                                                                                          This bill is currently divided into 4 payments- to be
                                                                                                                                                                                          added to the next 4 future bills. Because I have
                                                                                                                                                                                          been on levalized billing and this is accrued billing
                                                                                                                                                                                          from the last house since I just moved. This
                                                                                                                                                                                          personal bill is in good standing and I intend to
                                                                                                                                                                                          continue paying it without interruption. I would like
                                                                                        IPO BOX8101                                                                                       to exclude this debt from my Ch? dissolution- or I
                                                                                        1BATON ROUGE,                                                                In Good              will reaffirm the debt with the creditor as
     ,4.22     Entergy                                    Personal                 2730 I LA 70891-8101                 $657.25       01/01/2022, utility/electric   Standing       yes   neccessary
                                                                                        IConcora Credit, PO
                                                                                        I Box 4477,
                                                                                        : Beaverton, OR
     14.23     FEB Destiny                                Personal                      I 97075-4477                  $1,333.00       06/01/2023 !credit card        In Default     no




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                                                                                                                                                                    This business subscription is in good standing and
                                                                                                                                                                    I intend to continue paying it for the good of my
                                                                         i 1600 Amphitheatre                                                                        business without interruption. I would like to
                                                                           Pkwy Mountain                                                        In Good             exclude this debt from my Ch? dissolution- or I will
      4.24     GoogleWorkspace - G-Suite                Business          I
                                                                     1005 View, CA 94043                 $15.08     07/14/2022 subscription     Standing      yes   reaffirm the debt with the creditor as neccessary
                                                                          • Utility Billing                                                                         This personal bill is in good standing and I intend
                                                                           Services                                                                                 to continue paying it without interruption. I would
                                                                          'P.O. Box 3830                                                                            like to exclude this debt from my Ch? dissolution-
                                                                           Hot Springs, AR                                                      In good             or I will reaffirm the debt with the creditor as
      4.25     Hot Springs Utility                      Personal           71914-3830                                           utility/water   standing      yes   neccessary
                                                                                                                                                                    This personal subscription is in good standing and
                                                                                                                                                                    I intend to continue paying it for entemtainment
                                                                          2500 Broadway,                                                                            without interruption. I would like to exclude this
                                                                          2nd Floor, Santa                                                      In Good             debt from my Ch? dissolution- or I will reaffirm the
      4.26     Hulu                                     Personal          Monica, CA 90404.                $9.99                Subscription    Standing      yes   debt with the creditor as neccessary
                                                                                                                                                                    This business subscription is in good standing and
                                                                                                                                                                    I intend to continue paying it for the good of my
                                                                           One Apple Park                                                                           business without interruption. I would like to
                                                                           Way, Cupertino, CA                                                   In Good             exclude this debt from my Ch? dissolution- or I will
      4.27     iCloud +2TB                              • Business         95014                           $9.99                Subscription    Standing      yes   reaffirm the debt with the creditor as neccessary
                                                                                                                                                                    This business subscription is in good standing and
                                                                                                                                                                    I intend to continue paying it for the good of my
                                                                                                                                                                    business without interruption. I would like to
                                                                                                                                                In Good             exclude this debt from my Ch? dissolution- or I will
      4.28     Kindle Unlimited                         Business                                          $11.99    09/26/2017 Subscription     Standing      yes   reaffirm the debt with the creditor as neccessary
                                                                                                                                                                    This debt was paid off by the Cares Act in 2022 -
                                                                                                                                                                    per the Student Accounts office at LUO. I was
                                                                                                                                                                    enrolled in LUO during the pandemic, and then I
                                                                                                                                                                    got sick, I could not return to classes and even lost
                                                                          1971 University                                                                           my apartment and moved back from Houston to
                                                                          Blvd, Lynchburg,                                                      Charged Off         Hot Springs while deathly ill. This is tuition from the
      4.29     Liberty Univerity Online                 Personal          VA24515                 6k                03/01/2021 Tuition Debt     Debt          no    canceled Student Loan from that time
                                                                          , LVNV Funding LLC
                                                                          •Care of Resurgent
                                                                            Capital Services L.                                Collection
                                                                            P PO Box 1269                                      Agency/Unknow
                                                                          •Greenville, SC                                      n Charged off Collections/Cha        This is a collection agency- I don't know who the
      4.30     LVNV Funding                             Personal            29602                      $3,575.00    10/27/2023 Debt          rged Off Debt   no     original lender is.
                                                                             MISSOURI
                                                                           •HIGHER EDUC                                                                             1-01 Direct Loan - Unsubsidized School LIBERTY
                                                                            633 SPIRIT DR                                                                           UNIVERSITY Loan Status Awaiting Form
                                                                             CHESTERFIELD,                                     Unsubsidized     In Good             Administrative Forbearance Estimated Payoff
      4.31     MOELNDOFED - Missouri Higher Education   Personal     01-01 ! MO 63005-1243             $9,459.51    04/21/2021 Student Loan     Standing      no    Date 04/21/2035 Repayment Plan Level
                                                                                                                                                                    1-02 Direct Loan - Unsubsidized
                                                                                                                                                                    LIBERTY UNIVERSITY
                                                                                                                                                                    Loan Status
                                                                          ,MISSOURI                                                                                 Awaiting Form Administrative Forbearance
                                                                           •HIGHER EDUC                                                                             Estimated Payoff Date
                                                                            633 SPIRIT DR                                                                           04/21/2035
                                                                           : CHESTERFIELD,                                     •Unsubsidized    In Good             Repayment Plan
      4.32     MOELNDOFED - Missouri Higher Education   Personal     01-02: MO 63005-1243              $9,984.70    07/19/2021 ! Student Loan   Standing      no    Level
                                                                                                                                                                    1-03 Direct Loan - Subsidized School
                                                                                                                                                                    NATIONAL PARK COLLEGE
                                                                                                                                                                    Loan Status
                                                                             MISSOURI                                                                               Awaiting Form Administrative Forbearance
                                                                             HIGHER EDUC                                                                            Estimated Payoff Date
                                                                           , 633 SPIRIT DR                                                                          09/21/2035
                                                                           1 CHESTERFIELD,                                      Subsidized      In Good             Repayment Plan
      4.33     MOELNDOFED - Missouri Higher Education   Personal     01-03 IMO 63005-1243              $2,290.65   08/20/20218' Student Loan    Standing      no    Saving on a Valuable Education
                                                                                                                                                                    1-04 Direct Loan - Subsidized
                                                                                                                                                                    School
                                                                                                                                                                    NATIONAL PARK COLLEGE
                                                                                                                                                                    Loan Status
                                                                           'MISSOURI                                                                                Awaiting Form Administrative Forbearance
                                                                           I HIGHER EDUC                                                                            Estimated Payoff Date                '
                                                                           , 633 SPIRIT DR                                                                          09/21/2035
                                                                           , CHESTERFIELD,                                      Subsidized      In Good             Repayment Plan
     !4,34     MOELNDOFED - Missouri Hi~her Education   IPersonal    01-04 I MO 63005-1243             $4,571.85    09/15/2016: Student Loan    Standing      no    Saving on a Valuable Education




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                                                                                                                                                      1-05 Direct Loan - Unsubsidized
                                                                                                                                                      School
                                                                                                                                                      NATIONAL PARK COLLEGE
                                                                                                                                                      Loan Status
                                                                          'MISSOURI                                                                   Awaiting Form Administrative Forbearance
                                                                          , HIGHER EDUC                                                               Estimated Payoff Date
                                                                         '633 SPIRIT DR                                                               09/21/2035
                                                                          'CHESTERFIELD,                              Unsubsidized   In Good          Repayment Plan
     ,4.35     MOELA/DOFED - Missouri Higher Education , Personal   01-05! MO 63005-1243    $6,832.03•   09/27/2016 I Student Loan   Standing    no   Saving on a Valuable Education
                                                                                                                                                      1-06 Direct Loan - Subsidized
                                                                                                                                                      School
                                                                                                                                                      NATIONAL PARK COLLEGE
                                                                                                                                                      Loan Status
                                                                            MISSOURI                                                                  Awaiting Form Administrative Forbearance
                                                                          , HIGHER EDUC                                                               Estimated Payoff Date
                                                                           633 SPIRIT DR                                                              09/21/2035
                                                                            CHESTERFIELD,                            Subsidized      In Good          Repayment Plan
      4.36     MOELA/DOFED - Missouri Higher Education •Personal    01-06' MO 63005-1243    $4,584.17    09/14/2017, Student Loan    Standing    no   Saving on a Valuable Education
                                                                                                                                                      1-07 Direct Loan - Unsubsidized
                                                                                                                                                      School
                                                                                                                                                      NATIONAL PARK COLLEGE
                                                                                                                                                      Loan Status
                                                                          :MISSOURI                                                                   Awaiting Form Administrative Forbearance
                                                                          1HIGHER EDUC                                                                Estimated Payoff Date
                                                                          , 633 SPIRIT DR                                                             09/21/2035
                                                                          I CHESTERFIELD,                           Unsubsidized     In Good          Repayment PIan
      4.37     MOELA/DOFED - Missouri Higher Education ' Personal   01-07 ! MO 63005-1243   $6,721.86,   09/14/2017 Student Loan     Standing    no   Saving_ on a Valuable Education
                                                                                                                                                      1-08 Direct Loan - Subsidized
                                                                                                                                                      School
                                                                                                                                                      HENDERSON STATE UNIVERSl1Y
                                                                                                                                                      Loan Status
                                                                          MISSOURI                                                                    Awaiting Form Administrative Forbearance
                                                                          HIGHER EDUC                                                                 Estimated Payoff Date
                                                                          633 SPIRIT DR                                                               09/21/2035
                                                                          CHESTERFIELD,                             Subsidized       In Good          Repayment Plan
      4.38     MOELA/DOFED - Missouri Higher Education   Personal   01-08 MO 63005-1243     $2,297.43    08/20/2018 Student Loan     Standing    no   Saving on a Valuable Education
                                                                                                                                                      1-09 Direct Loan - Unsubsidized
                                                                                                                                                      School
                                                                                                                                                      HENDERSON STATE UNIVERSl1Y
                                                                                                                                                      Loan Status
                                                                           MISSOURI                                                                   Awaiting Form Administrative Forbearance
                                                                         . HIGHER EDUC                                                                Estimated Payoff Date
                                                                           633 SPIRIT DR                                                              09/21/2035
                                                                           CHESTERFIELD,                            Unsubsidized     In Good          Repayment Plan
     ,4.39     MOELA/DOFED - Missouri Higher Education   Personal   01-09' MO 63005-1243    $3,300.07    08/20/2018 Student Loan     Standing    no   Saving on a Valuable Education
                                                                                                                                                      1-1 O Direct Loan - Subsidized
                                                                                                                                                      School
                                                                                                                                                      SOUTHERN ARKANSAS UNIVERSl1Y
                                                                                                                                                      Loan Status
                                                                          ,MISSOURI                                                                   Awaiting Form Administrative Forbearance
                                                                          : HIGHER EDUC                                                               Estimated Payoff Date
                                                                          i 633 SPIRIT DR                                                             09/21/2035
                                                                          , CHESTERFIELD,                          , Subsidized      In Good          Repayment Plan
      4.40     MOELA/DOFED - Missouri Higher Education : Personal   01-10 !MO 63005-1243    $2,807.99    01/29/2019 Student Loan     Standing    no   Saving on a Valuable Education
                                                                                                                                                      1-11 Direct Loan - Unsubsidized
                                                                                                                                                      School
                                                                                                                                                      SOUTHERN ARKANSAS UNIVERSl1Y
                                                                                                                                                      Loan Status
                                                                          ;MISSOURI                                                                   Awaiting Form Administrative Forbearance
                                                                           HIGHER EDUC                                                                Estimated Payoff Date
                                                                          !633 SPIRIT DR                                                              09/21/2035
                                                                          'CHESTERFIELD,                            : Unsubsidized   'In Good         Repayment Plan
     '4.41     MOELA/DOFED - Missouri Higher Education , Personal   01-11 :MO 63005-1243    $3,763.23    01/29/2019 !Student Loan     Standing   no   Saving on a Valuable Education




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                                                                                                                                                                              1-12 Direct Loan - Subsidized
                                                                                                                                                                              School
                                                                                                                                                                              HENDERSON STATE UNIVERSITY
                                                                                                                                                                              Loan Status
                                                                                   ,MISSOURI                                                                                  Awaiting Form Administrative Forbearance
                                                                                   'HIGHER EDUC                                                                               Estimated Payoff Date
                                                                                    633 SPIRIT DR                                                                             09/21/2035
                                                                                   1CHESTERFIELD,                                       Subsidized         In Good            Repayment PIan
      4.42     MOELNDOFED - Missouri Higher Education !Personal              01-12] MO 63005-1243              $5,604.60    09/12/2019: Student Loan       Standing     no    Saving on a Valuable Education
                                                                                                                                                                              1-13 Direct Loan - Unsubsidized
                                                                                                                                                                              School
                                                                                                                                                                              HENDERSON STATE UNIVERSITY
                                                                                                                                                                              Loan Status
                                                                                    MISSOURI                                                                                  Awaiting Form Administrative Forbearance
                                                                                    HIGHER EDUC                                                                               Estimated Payoff Date
                                                                                    633 SPIRIT DR                                                                             09/21/2035
                                                                                    CHESTERFIELD,                                       Unsubsidized       In Good            Repayment Plan
      4.43     MOELNDOFED - Missouri Higher Education ;Personal              01-131 MO 63005-1243              $7,241.71    09/12/2019: Student Loan       Standing     no    Saving on a Valuable Education
                                                                                                                                                                              1-14 Direct Loan - Subsidized
                                                                                                                                                                              School
                                                                                                                                                                              HENDERSON STATE UNIVERSITY
                                                                                                                                                                              Loan Status
                                                                                    :MISSOURI                                                                                 Awaiting Form Administrative Forbearance
                                                                                    : HIGHER EDUC                                                                             Estimated Payoff Date
                                                                                    ; 633 SPIRIT DR                                                                           09/21/2035
                                                                                    : CHESTERFIELD,                                    Subsidized          In Good            Repayment Plan
      4.44     MOELNDOFED - Missouri Higher Education    Personal            01-1 ( MO 63005-1243                $632.45    09/04/2020 Student Loan        Standing     no    Saving on a Valuable Education
                                                                                                                                                                              1-15 Direct Loan - Unsubsidized
                                                                                                                                                                              School
                                                                                                                                                                              HENDERSON STATE UNIVERSITY
                                                                                                                                                                              Loan Status
                                                                                     MISSOURI                                                                                 Awaiting Form Administrative Forbearance
                                                                                     HIGHER EDUC                                                                              Estimated Payoff Date
                                                                                   , 633 SPIRIT DR                                                                            09/21/2035
                                                                                     CHESTERFIELD,                                     Unsubsidized        In Good            Repayment Plan
      4.45     MOELNDOFED - Missouri Higher Education    Personal            01-15 1MO 63005-1243              $4,553.81    09/04/2020 Student Loan        Standing     no    Saving on a Valuable Education
                                                                                                                                                                              1-17 Direct (TEACH)-Unsubsidized (This was a
                                                                                                                                                                              grant, turned loan after I had to drop out due to
                                                                                                                                                                              illness during the pandemic)
                                                                                                                                                                              School
                                                                                                                                                                              LIBERTY UNIVERSITY
                                                                                                                                                                              Loan Status
                                                                                     MISSOURI                                                                                 Awaiting Form Administrative Forbearance
                                                                                     HIGHER EDUC                                                                              Estimated Payoff Date
                                                                                   '633 SPIRIT DR                                                                             04/21/2035
                                                                                   , CHESTERFIELD,                                     Unsubsidized        In Good            Repayment Plan
     ·4.46     MOELNDOFED - Missouri Higher Education    Personal            01-17: MO 63005-1243              $1,960.22    03/08/2021 Student Loan        Standing     no    Level
                                                                                                                                                                              This personal subscription is in good standing and
                                                                                                                                                                              I intend to continue paying it for entemtainment
                                                                                  : 121 Albright Way,                                                                         without interruption. I would like to exclude this
                                                                                    Los Gatos, CA                                                          In Good            debt from my Ch7 dissolution- or I will reaffirm the
                                                                                  1
      4.47     Netflix                                  Personal                    95032-1801.                    $7.65       09/2021 : Subscription      Standing     yes   debt with the creditor as neccessary
                                                                                                                                                                              This business debt is in good standing and I intend
                                                                                  INext First Insurance                                                                       to continue paying it for the good of my business
                                                                                  : Agency, Inc PO                                                                            without interruption. I would like to exclude this
                                                                                  : Box 60787 Palo                                     E&O Insurance       In Good            debt from my Ch7 dissolution- or I will reaffirm the
      4.48     Next E&O Insurance                       Business     02-PL        1
                                                                                    Alto, CA 94306        202.00 16.84/mn   05/21/2021 Policy              Standing     yes   debt with the creditor as neccessary
                                                                                  !Cablelynx                                                                                  This business debt is in good standing and I intend
                                                                                  : Broadband- Resort                                                                         to continue paying it for the good of my business
                                                                                  : TV Cable PO Box                                                                           without interruption. I would like to exclude this
                                                                                    71291 Charlotte,                                                       In Good            debt from my Ch7 dissolution- or I will reaffirm the
     :4.49     Resort TV Cable/Cablelynx                Business     16-12        1NC 28272-1291                 $206.20'   11/01/2024' Utility/Internet   Standing     yes   debt with the creditor as neccessary
                                                                                                                                                                              This personal subscription is in good standing and
                                                                                                                                                                              I intend to continue paying it for entemtainment
                                                                                  , 5555 Melrose                                                                              without interruption. I would like to exclude this
                                                                                  ! Avenue, Los                                                            , In Good          debt from my Ch7 dissolution- or I will reaffirm the
     14.50     Roku/Paramount+                          , Personal                I Angele~                       $12.99                 subscription        Standing   yes   debt with the creditor as neccessary




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                                                                                 / Shopify Inc.
                                                                                 1151 O'Connor St.,                                                                      This business subscription is in good standing and
                                                                                 I Ground Floor                                                                          I intend to continue paying it for the good of my
                                                                                 1Ottawa, ON K2P                                                                         business without interruption. I would like to
                                                                                 '2L8                                                                 In Good            exclude this debt from my Ch7 dissolution- or I will
     '4.51     Shopify Store- The Amethyst Dragonfly   Business                    Canada                         $39.00   10/27/2024, subscription   Standing     yes   reaffirm the debt with the creditor as neccessary
                                                                                                                                                                         This business subscription is in good standing and
                                                                                 1
                                                                                  660 4th Street                                                                         I intend to continue paying it for the good of my
                                                                                 ,#558, San                                                                              business without interruption. I would like to
                                                                                     Francisco, CA                                                    In Good            exclude this debt from my Ch7 dissolution- or I will
      4.52     Social Accountant                       Business                  ,94107                           $32.00   06/16/2024 Subscription    Standing     yes   reaffirm the debt with the creditor as neccessary
                                                                                 : Squarespace, Inc.

                                                                                     225 Varick Street,                                                                  This business subscription is in good standing and
                                                                                     12th Floor                                                                          I intend to continue paying it for the good of my
                                                                                                                                                                         business without interruption, I would like to
                                                                                 : New York, NY                                                       In Good            exclude this debt from my Ch7 dissolution- or I will
      4.53     Squarespace-WebsiteHosting              : Business                  10014                  25.00/mnth       01/14/2024' Subscription   Standing     yes   reaffirm the debt with the creditor as neccessary
                                                                                 : Squarespace, Inc.

                                                                                 , 225 Varick Street,                                                                    This business subscription is in good standing and
                                                                                   12th Floor                                                                            I intend to continue paying it for the good of my
                                                                                                                                                                         business with.out interruption. I would like to
                                                                                     New York, NY                                                     In Good            exclude this debt from my Ch7 dissolution- or I will
      4.54     Squarespace Domain                      Business                      10014                20.00/ann        01/14/2024: Subscription   Standing     yes   reaffirm the debt with the creditor as neccessary
                                                                                                                                                                         This personal bill is in good standing and I intend
                                                                                   State Farm Billing                                                                    to continue paying it without interruption. I would
                                                                                 : P.O. Box 52251                                                                        like to exclude this debt from my Ch7 dissolution-
                                                                                   Phoenix, AZ 85072-                                                 In Good            or I will reaffirm the debt with the creditor as
      4.55     State Farm                              Personal                    2251               84.78/mnth           01/15/2024 lnsuarance      Standing     yes   neccessary
                                                                                   Concora credit PO
                                                                                 , Box 965841
                                                                                   Charlotte, NC
                                                                                  28296--0541 TBOM
                                                                                  MIL
                                                                                   PO BOX4499
                                                                                   BEAVERTON, OR
      4.56     TBOM/MLSTNE - Milestone Credit          Personal                    97076                       $1,230.33     8072022 credit card      In Default   no
                                                                                                                                                                         This payment includes payment on the iPhone 13
                                                                                                                                                                         ProMax 75% paid off with remaining balance of
                                                                                                                                                                         274.95. This business/personal bill is in good
                                                                                                                                                                         standing and I intend to continue paying ii without
                                                                                  'PO BOX 660108                                                                         interruption. I would like to exclude this debt from
                                                                                  :DALLAS, TX                                                          In Good           my Ch7 dissolution- or I will reaffirm the debt with
      4.57     Verizon                                 Business/Person       7432 i 75266--0108                  $111.89        2018 utility/telephone Standing    yes   the creditor as neccessary.
                                                                                 ,Zoom
                                                                                 , Communications,
                                                                                 :inc.                                                                                   This business subscription is in good standing and
                                                                                 : 55 Almaden Blvd,                                                                      I intend to continue paying it for the good of my
                                                                                 16th Floor                                                                              business without interruption. I would like to
                                                                                   San Jose, CA                                                       In Good            exclude this debt from my Ch7 dissolution- or I will
                                                                                 1
      4.58     Zoom                                     Business     ,0348         95113                          $17.51   10/17/2024 'subscription   Standing     yes   reaffirm the debt with the creditor as neccessary




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 Debtor 1          Victoria Lee Meyers
                     First Name             Middle Name               Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Eastern and Western District of Arkansas

 Case number
                                                                                                                                           D Check if this is an
  (If known)                                                                                                                                   amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
AIB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

               List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
    !;a No. Go to Part 2.
    D Yes.
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
   each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
   nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
   unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim   Priority     Non priority
                                                                                                                                          ai:nount     amount

                                                             Last 4 digits of account number _ _ _ _                        $_ _ _ _ _ $_____ $_ _ _ __
EJ -   ----------------
   Priority Creditor's Name
                                                             When was the debt incurred?
      Number            Street

                                                             As of the date you file, the claim is: Check all that apply.

      City                         Slate     ZIP Code
                                                             D Contingent
                                                             D Unliquidated
      Who incurred the debt? Check one.                      D Disputed
      D Debtor 1 only
      D Debtor 2 only                                        Type of PRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                           D Domestic support obligations
      D At least one of the debtors and another              D Taxes and certain other debts you owe the government
      D Check if this claim is for a community debt          D Claims for death or personal injury while you were
      Is the claim subject to offset?                            intoxicated
      □ No                                                   D other. Specify _ _ _ _ _ _ _ _ _ _ _ __
      D Yes
                                                             Last 4 digits of account number _ _ _ _                        $. _ _ _ _ _ $._____ $_ _ _ __
      Priority Creditor's Name
                                                             When was the debt incurred?
      Number            Street
                                                             As of the date you file, the claim is: Check all that apply.
                                                             D Contingent
      City                          State    ZIP Code        D Unliquidated
      Who incurred the debt? Check one.                      D Disputed
      D Debtor 1 only                                        Type of PRIORITY unsecured claim:
      D Debtor 2 only                                        D Domestic support obligations
      D Debtor 1 and Debtor 2 only
      D At least one of the debtors and another              D Taxes and certain other debts you owe the government
                                                             D Claims for death or personal injury while you were
       D Check if this claim is for a community debt             intoxicated
       Is the claim subject to offset?                       D other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
       □ No
       D Yes

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                                                                                                           __ 64_ _ _ __
                     First Name      Middle Name         Last Name


                    Your PRIORITY Unsecured Claims - Continuation Page

I A~, ll•tiog aoy entries •• this page, oumbe, them begloolog with 2.3, fi>llowed by 2.4, aod so fi>rth.                            Total claim   Priority
                                                                                                                                                  amount
                                                                                                                                                             Nonpriority
                                                                                                                                                             amount


                                                                     Last 4 digits of account number _ _ _ _                        $_ _ _ _ _ $_ _ __       $_ _ _ __
          Priority Creditor's Name

                                                                     When was the debt incurred?
          Number          Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     □ Contingent
          City                             State    ZIP Code         □ Unliquidated
                                                                     □ Disputed
         Who incurred the debt? Check one.
          □ Debtor 1 only                                            Type of PRIORITY unsecured claim:
          □ Debtor 2 only
                                                                     □ Domestic support obligations
          □ Debtor 1 and Debtor 2 only
                                                                     □ Taxes and certain other debts you owe the government
          □ At least one of the debtors and another
                                                                     □ Claims for death or personal injury while you were
                                                                         intoxicated
          □ Check if this claim is for a community debt
                                                                     □ Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __

          Is the claim subject to offset?
          □ No
          □ Yes
i



□                                                                    Last 4 digits of account number _ _ _ _                        $_ _ _ _ _ $_ _ __       $ _ _ _ __
          Priority Creditor's Name

                                                                     When was the debt incurred?
          Number           Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     □ Contingent
          City                             State    ZIP Code         □ Unliquidated
                                                                     □ Disputed
          Who incurred the debt? Check one.
          □ Debtor 1 only                                            Type of PRIORITY unsecured claim:
          □ Debtor 2 only
                                                                     □ Domestic support obligations
          □ Debtor 1 and Debtor 2 only
                                                                     □ Taxes and certain other debts you owe the government
          □ At least one of the debtors and another
                                                                     □ Claims for death or personal injury while you were
                                                                       intoxicated
          □ Check if this claim is for a community debt
                                                                     □ Other. Specify _ _ _ _ _ _ _ _ _ _ _ __

          Is the claim subject to offset?
          □ No
          □ Yes

□                                                                    Last 4 digits of account number _ _ _ _                        $_ _ _ _ _ $._ _ __      $_ _ _ __
          Priority Creditor's Name

                                                                     When was the debt incurred?
          Number           Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     □ Contingent
          City                              State   ZIP Code         □ Unliquidated
                                                                     □ Disputed
          Who incurred the debt? Check one.
          □ Debtor 1 only                                            Type of PRIORITY unsecured claim:
          □ Debtor 2 only
                                                                     □ Domestic support obligations
          □ Debtor 1 and Debtor 2 only
                                                                     □ Taxes and certain other debts you owe the government
          □ At least one of the debtors and another
                                                                     □ Claims for death or personal injury while you were
                                                                       intoxicated
          □ Check if this claim is for a community debt
                                                                     □ Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __

          Is the claim subject to offset?
          □ No
          □ Yes


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                                                                                   (if known) _ _ _ _ _ _- ' - - - - - - - - - -
                     First Name          Middle Name      Last Name



                   List All of Your NONPRIORITY Unsecured Claims

     3. Do any creditors have nonpriority unsecured claims against you?
          D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          ~Yes

     4. List all of your non priority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                          Total claim
E]         Adobe Inc.                                                              Last 4 digits of account number_§_ _Q_ ~ _§_
                                                                                                                                                                  25.00
                                                                                                                                                         $_ _ _ _ _ __
i          Nonpriority Creditor's Name
                                                                                   When was the debt incurred?            01/04/2025
           345 Park Ave
           Number   Street
           San Jose                                    CA              95110
           City                                        State          ZIP Code     As of the date you file, the claim is: Check all that apply.

                                                                                   D Contingent
           Who incurred the debt? Check one.                                       lid" Unliquidated
           ~ Debtor 1 only                                                         D Disputed
           D Debtor 2 only
           D Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another                               D Student loans
           □ Check if this claim is for a community debt                           D Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
           Is the claim subject to offset?                                         D Debts to pension or profit-sharing plans, and other similar debts
           ~ No                                                                    lid" other. specify Biz Sub/Exclude from Ch 7
           D Yes
4.2        Affirm Inc                                                              Last 4 digits of account number .:!_ _£_ _£_ _..l:._                           85.79
                                                                                                                                                         $_ _ _ _ _ __
           Nonpriority Creditor's Name                                             When was the debt incurred?             05/11/2024

           30 Isabella Street, 4th Floor
           Number    Street
           Pittsburgh                                   PA             15212       As of the date you file, the claim is: Check all that apply.
           City                                        State          ZIP Code
                                                                                   D Contingent
           Who incurred the debt? Check one.                                       ~ Unliquidated
           ~ Debtor 1 only                                                         D Disputed
           D Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
           D Debtor 1 and Debtor 2 only
           D At least one of the debtors and another                               D Student loans
                                                                                   D Obligations arising out of a separation agreement or divorce
           □ Check if this claim is for a community debt                               that you did not report as priority claims
           Is the claim subject to offset?                                         D Debts to pension or profit-sharing plans, and other similar debts
           □ No
                                                                                   fi/ other. Specify Biz Loan/Exclude from Ch 7
           D Yes
    4.3
           Affirm Inc                                                              Last 4 digits of account number _Q _Q ___8 _Q                                 273.73,
           Nonpriority Creditor's Name                                                                                                                   $_ _ _ _ _ __
                                                                                   When was the debt incurred?             11/05/2024
           30 Isabella Street, 4th Floor
           Number    Street
           Pittsburgh                                  PA              15212
                                                                                   As of the date you file, the claim is: Check all that apply.
           City                                        State          ZIP Code

                                                                                   D Contingent
           Who incurred the debt? Check one.
                                                                                   fiA Unliquidated
           ~ Debtor 1 only                                                         D Disputed
           D Debtor 2 only
           D Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
           D At least one of the debtors and another
                                                                                   D Student loans
           □ Check if this claim is for a community debt                           D Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
           Is the claim subject to offset?
                                                                                   D Debts to pension or profit-sharing plans, and other similar debts
           ~No                                                                     ~other.specify Biz Loan/Exclude from Ch 7
            D Yes


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                   Firat Name          Middle Name       Last Name



                  Your NONPRIORITY Unsecured Claims - Continuation Page


I After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                              Total claim  I
                                                                                                                                                                               - -I
~
p         AIWIT Eken Group Ltd
         Nonpriority Creditor's Name
                                                                                            Last 4 digits of account number _ _ _ _                               $        28.99 \
                                                                                                                                                                                    I

                                                                                            When was the debt incurred?         03/28/2024
          FLAT/RM 05 12/F Empress Plaza No.17-19 Chatham
         Number          Street
                                                                                            As of the date you file, the claim is: Check all that apply.
          Road TST KL 999077 Hong                      Kong
         City                                         State          ZIP Code               □ Contingent
                                                                                            ~ Unliquidated
         Who incurred the debt? Check one.                                                  □ Disputed
         ~ Debtor 1 only
         □ Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
         □ Debtor 1 and Debtor 2 only                                                       □ Student loans
          □ At least one of the debtors and another                                         □ Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
          □ Check if this claim is for a community debt
                                                                                            □ Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                    ~ other. Specify Biz Sub/Exclude from Ch 7
         ~ No
          □ Yes
I




~ Amazon Prime                                                                              Last 4 digits of account number _ _ _ _                               $        16.791
                                                                                                                                                                                    i
                                                                                                                                                                                    I
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?
          P.O. Box 81226
         Number          Street
                                                                                            As of the date you file, the claim is: Check all that apply.
          Seattle                                     WA              98108
         City                                         State          ZIP Code               □ Contingent
                                                                                            ~ Unliquidated
         Who incurred the debt? Check one.                                                  □ Disputed
          ~ Debtor 1 only
          □ Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
          □ Debtor 1 and Debtor 2 only
                                                                                            □ Student loans
          □ At least one of the debtors and another
                                                                                            □ Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
          □ Check if this claim is for a community debt
                                                                                            □ Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                    ~ other. specify Biz Sub/ Exclude from Ch 7
          ~No
          □ Yes


hl]                                                                                                                                                               $    3,364.00 !
          Amazon Store Card/ Synchrony Bank                                                 Last 4 digits of account number _i__ _i__      JL JL
         Nonpriority Creditor's Name
                                                                                            When was the debt incurred?         06/23/2021
          PO Box 71711
         Number          Street
                                                                                            As of the date you file, the claim is: Check all that apply.
          Philadelphia                                PA              19176
         City                                         State          ZIP Code               □ Contingent
                                                                                            !;a' Unliquidated
         Who incurred the debt? Check one.                                                  □ Disputed
         !;a' Debtor 1 only
          □ Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
         □ Debtor 1 and Debtor 2 only
                                                                                            □ Student loans
          □ At least one of the debtors and another
                                                                                            □ Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
          □ Check if this claim is for a community debt
                                                                                            □ Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                   ~ other. specify Credit Card
          ~ No
                                                                                                                                                                                    1
          □ Yes                                                      4.7 - 4.58 Are attached- See 20250104_Form B106_Sched E&F_Part 2 Non Priority Unsecured Claims-Continuation
                                                                     Page Attachmen\...VMeyers                                                                                   '




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                                                                                                          _ _ _ __
                First Name     Middle Name                 Last Name



               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       LVNV Funding LLC                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       LP PO Box 1269                                                             Line 4.18 of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                                  ~ Part 2: Creditors with Nonpriority Unsecured Claims
       C/O Resurgent Capital Services
                                                                                  Last 4 digits of account number _     __ _
       Greenville                                  SC            29602

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number    •     Street
                                                                                                               D Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _      __ _
      City                                         State               ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                               D Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _      __ _
                                             _ _s...;t.;;ate~-= ZIP Code

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                               D Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _     __ _
      City                                         State               ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of ( Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                               D Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _     __ _
      City                                         State               ZIP Code

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                               D Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number _     __ _
      City                                        State                ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                               □ Part 2: Creditors with Nonpriority_ Unsecured
                                                                                  Claims

      City                                        State                ZIP Code
                                                                                  Last 4 digits of account number _     __ _



Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page~of~
Debtor 1   6:25-bk-70035     Doc#: 1 Filed: 01/08/25 Entered: 01/08/25
             Victoria Lee Meyers                                         16:44:21
                                                                 Case number                Page
                                                                             (ff known),_ _ _ ___40_of
                                                                                                    __ 64_ _ _ __
               First Name    Middle Name          Last Name



            Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                                6a.                       0.00
Total claims                                                                           $
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.    $                  0.00

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.                       0.00
                                                                                       $

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.                       0.00
                                                                                      +$



                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                       $                  0.00


                                                                                       Total claim


Total claims 6f. Student loans                                                  6f.
                                                                                       $             76,606.28
from Part 2
             6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                         6g.    $                  0.00
                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.    $              2,770.06

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.   +$                  0.00


                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                       $             79,376.34




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                               page~of~
                6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 41 of 64
  Fill in this information to identify your case:


  Debtor
                      Victoria Lee Meyers
                          First Name                             Middle Name               Last Name

  Debtor 2
  (Spouse lffiling)       Fits! Name                             Middle Name               Last Name


  United States Bankruptcy court for the: Eastern and Western District of Arkansas

  Case number
   (If known)                                                                                                                                           D Check if this is an
                                                                                                                                                           amended tiling


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


  1. Do you have any executory contracts or unexpired leases?
        □ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        laa' Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AJB: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.



        Person or company with whom you have the contract or lease                                            State what the contract or lease i~ for


21                                                                                                      Personal Residence
 • 1    DMT Properties
        Name                                                                                            324 Burchwood Bay Rd A7
        218 4th St                                                                                      Hot Springs, AR 71913
        Number               Street                                                                     10/25/2024 -12 mos lease $990.00 mo
        Hot Springs                                         AR          71913
        City                                                 State      ZIP Code


    i Verizon
•2 •2                                                                                                   Apple iPhone 13 ProMax 256 GB (Gold)
        Name                                                                                            #501-802-7432
        PO BOX 660108                                                                                   Device ID/IMEI IMEl2: 358677233611584
        Number               Street                                                                     75% paid off- 9 payments left - Balance $274.95
        Dallas                                          TX              75266
______ CJ!t,_ ___     M    ___    -    ""--------   -   -    ~~---~~~~------           -   --   .




2.3,

        Name

        Number               Street


-~~--gLty_,------ -,-- ~- _ __________ - _~~---~IP Co~e _
2.41
        Name

        Number               Street


. --City ___ ~                                               State      ZIP Code

2.5:
        Name

        Number               Street

        City                                                 State      ZIP Code


Official Form 106G                                                   Schedule G: Executory Contracts and Unexpired Leases                                   page 1 ot_1_
                      6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 42 of 64
 Debtor 1
                       Victoria Lee Meyers                                                                 Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                        First Name        Middle Name               Last Name




 -                      Additional Page if You Have More Contracts or Leases

               Person or company with whom you have the contract or lease                               What the contract or lease is for


 ~I
 C------       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


               Name


               Number        Street


               City                                     State      ZIP Code




               Name


               Number        Street


               City                                     State      ZIP Code




               Name


               Number         Street


               City                                     State      ZIP Code
           '            ----- ------~--·~- -·----~- ------- ---·-·- - -·- ----·----                                       -----------
 I
 1-.
     2._1

               Name


               Number         Street


               City                                     State      ZIP Code




               Name


               Number         Street


               City                                     State      ZIP Code
 1--,~- ---- -~------
 ,2._1
 [_·

               Name


               Number         Street




               Number        Street


               City                                     State      ZIP Code




               Name


               Number         Street


               City                                     State      ZIP Code
 ·--~:   ----- ------ -- - ---       --




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                             page£_of_L
              6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 43 of 64
 Fill in this information to identify your case: _

 Debtor 1          Victoria Lee Meyers
                    First Name                      Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the: Eastern and Western District of Arkansas

 Case number
 (If known)
                                                                                                                                            D Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ~ No
      0 Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      !if No. Go to line 3.
      0 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           □ No
           D Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _. Fill in the name and current address of that person.

                 Name of your spouse, former spouse, or legal equivalent



                 Number             Street



                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule EIF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,·
     Schedule EIF, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:


                                                                                                          □ Schedule D, line _ __
         Name
                                                                                                          □ Schedule E/F, line _ __
         Number            Street                                                                         D Schedule G, line _ __
                                                                     State                   ZIP Code



         Name
                                                                                                          D Schedule D, line _ __
                                                                                                          □ Schedule E/F, line _ __
         Number            Street                                                                         D Schedule G, line _ __

§]---··  City                                                        State                   ZIP Code


         ~Na_m_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                  D Schedule D, line _ __
                                                                                                          D Schedule E/F, line _ __
         Number            Street                                                                         D Schedule G, line _ __
                                                                     State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                         page 1 of~
                6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 44 of 64
 Debtor 1        Victoria Lee Meyers                                                       Case number (it known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Middle Name   Last Name



                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt

                                                                                                    Check all schedules that apply:

         no codebtors                                                                                □ Schedule D, line _ __
        Name
                                                                                                     □ Schedule E/F, line _ _

        Number           Street                                                                      □ Schedule G, line _ _



        City                                          State                   ZIP Code
                                                                         -----------
                                                -   -----·-·--


 EJ     Name
                                                                                                     □ Schedule D, line _ __

                                                                                                     □ Schedule E/F, line _ _

        Number           Street                                                                      □ Schedule G, line _ __


                                                                              ZIP Code
                                                                             ----~---


                                                                                                     □ Schedule D, line _ __
                                                                                                     □ Schedule E/F, line _ __

        Number           Street                                                                      □ Schedule G, line _ __


                                                      State                   ZIP Code
                                                                             -------··       - "'" ---   - - ---                           -~-------

                                                                                                     □ Schedule D, line ___
                                                                                                     □ Schedule E/F, line ___

        Number           Street                                                                      □ Schedule G, line ___


 ,      City                                          State                   ZIP Code
 □------··




                                                                                                     □ Schedule D, line ___
        Name
                                                                                                     □ Schedule E/F, line ___

        Number           Street                                                                      □ Schedule G, line ___


 Q __ f!!y_                                           State                   ZIP Code


        '"'N-am_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                        □ Schedule D, line __
                                                                                                                         ·_
                                                                                                     □ Schedule E/F, line ___

        Number           Street                                                                      □ Schedule G, line ___


        City_                                         State                   ZIP Code


 [J     .,.,N-am_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                       □ Schedule D, line ___
                                                                                                     □ Schedule E/F, line ___

        Number           Street                                                                      □ Schedule G, line ___


        City                                                                  ZIP Code
 [:]-------
                                                                                                     □ Schedule D, line ___
        Name
                                                                                                     □ Schedule E/F, line ___

        Number           Street                                                                      □ Schedule G, line ___


        City                                          State                   ZIP Code




Official Form 106H                                            Schedule H: Your Codebtors                                              pageLotl.__
                          6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 45 of 64
I
I       r.    ill in this information to identify your case:


        Debtor1             . Victoria Lee Meyers
                             First Name             Middle Name             Last Name

        Debtor 2
        (Spouse, if filing) First Name              Middle Name             Last Name


        United States Bankruptcy Court for the: Eastern and Western District of Arkansas

        Case number                                                                                            Check if this is:
             (If known)
                                                                                                               D An amended filing
                                                                                                               D A supplement showing postpetition chapter 13
                                                                                                                    income as of the following date:
    Official Form 1061                                                                                              MM/ DD/ YYYY

    Schedule I: Your Income                                                                                                                                  12/15

    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
    If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
    separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


    [ ifI
    '
                            Describe Employment


        1. Fill in your employment
               information.                                                       Debtor 1                                       Debtor 2 or non-filing spouse

               If you have more than one job,
               attach a separate page with
               information about additional       Employment status            all Employed                                      D Employed
               employers.                                                      D Not employed                                    D Not employed
               Include part-time, seasonal, or
               self-employed work.
                                                  Occupation                  Remote Bookkeeper
               Occupation may include student
               or homemaker, if it applies.
                                                  Employer's name             Intuit Inc.

                                                  Employer's address          PO Box 391805
                                                                               Number Street                                 Number     Street




                                                                              Mountain View             CA     94039
                                                                               City             State    ZIP Code            City                   State ZIP Code

                                                  How long employed there?        3 years                                        3 years


    •if◄ Give Details About Monthly Income
               Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
               spouse unless you are separated.
               If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
               below. If you need more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1           For Debtor 2 or
                                                                                                                                non-filing spouse
         2. List monthly gross wages, salary, and commissions (before all payroll
            deductions). If not paid monthly, calculate what the monthly wage would be.          2.          3,087.98
                                                                                                         $                         $

             3. Estimate and list monthly overtime pay.                                          3. +$        631.11        + $


             4. Calculate gross income. Add line 2 + line 3.                                     4.      $   3,719.09 I            $_ _ __
                                                                                                                            1

    Official Form 1061                                                   Schedule I: Your Income                                                          page 1
            6:25-bk-70035 Doc#: 1 Filed: 01/08/25 Entered: 01/08/25 16:44:21 Page 46 of 64
Debtor 1         Victoria Lee Meyers                                                                                                  Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name          Middle Name                 Last Name



                                                                                                                                     For Debtor 1             For Debtor 2 or
                                                                                                                                                              non-filing spouse

    Copy line 4 here ...............................................................................................   -+ 4.         $     3,719.09             $______

: 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                    5a.        $        639.20            $_ _ _ __

     5b. Mandatory contributions for retirement plans                                                                     5b.        $                          $_ _ _ _ __

     5c. Voluntary contributions for retirement plans                                                                     5c.        $        220.23            $_ _ _ _ __

     5d. Required repayments of retirement fund loans                                                                     5d.        $        101.83            $_ _ _ _ __

     5e. Insurance                                                                                                        5e.        $         96.37            $_ _ _ _ __

     5f. Domestic support obligations                                                                                     5f.        $                          $_ _ _ _ __

                                                                                                                          5g.        $                          $_ _ _ _ __
     5g. Union dues
     5h. Other deductions. Specify: ESPP Purchase and Garnishment                                                         5h. +$              780.43          + $_ _ _ __
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                          6.         $     1,838.06             $_ _ _ _ __


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                   7.         $     1,881.03             $_ _ _ _ __


 a. List all other income regularly received:
     Sa. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                         $_ _-_0._90_               $_ _ _ _ __
           monthly net income.                                                                                            Sa.
      Sb. Interest and dividends                                                                                          Bb.        $- - -0.00
                                                                                                                                           --
                                                                                                                                                                $_ _ _ _ __
     Be. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                     $- - -0.00
                                                                                                                                           --                   $_ _ _ __
           settlement, and property settlement.                                                                           Be.
     Sd. Unemployment compensation                                                                                        Bd.        $- - -0.00
                                                                                                                                           --                   $_ _ _ __
      Se. Social Security                                                                                                 Be.        $_ ___,0a.,:..0=..;0=-     $_ _ _ _ __

      Bf. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental
          Nutrition Assistance Program) or housing subsidies.
          Specify: unmarried partner                                                Bf.                                              $            0.00          $

      Bg. Pension or retirement income                                                                                    Bg.        $            0.00          $

      Bh. Other monthly income. Specify: _ _ _ _ _ _ _ _ _ _ _ __                                                         Bh. +$                  0.00        +$

  9. Add all other income. Add lines Ba+ Bb + Be+ Bd + Be+ Bf +Bg + Bh.                                                   9. I $                 -0.901         $
                                                                                                                                                                                     I
 10.Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                             10.   I   $
                                                                                                                                           1,880.13 I+ I        $
                                                                                                                                                                                     I= 1$

 11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: unmarried partne·r                                                                                                                                               11 .   + $        1,000.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                        12.
                                                                                                                                                                                                1,980.13
                                                                                                                                                                                         Combined
                                                                                                                                                                                         monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
   • ~ No.
      0 Yes. Explain:

Official Form 1061                                                                       Schedule I: Your Income                                                                             page 2
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       ill in this information to identify your case:

      Debtor 1          Victoria Lee Meyers
                          First Name            Middle Name              Last Name                       Check if this is:
      Debtor2
      (Spouse, if filing) First Name            Middle Name              Last Name
                                                                                                         D An amended filing
                                                                                                         D A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the: Eastern and Western District of Arkansas                       expenses as of the following date:
      Case number                                                                                            MM/ DD/ YYYY
      (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                               12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

[ - Describe Your Household

 1.    Is this a joint case?

       ~ No. Go to line 2.
       D Yes. Does Debtor 2 live in a separate household?
                    D No
                    D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                   D No                                           Dependent's relationship to         Dependent's   Does dependent live
       Do not list Debtor 1 and               D Yes. Fill out this information for           Debtor 1 or Debtor 2                age           with you?
       Debtor 2.                                   each dependent... ....................... - - = - = = = ~ ~ ~ - ~
       Do not state the dependents'
                                                                                                                                               D No
       names.                                                                                                                                  D Yes
                                                                                                                                               D No
                                                                                                                                               D Yes
                                                                                                                                               D No
                                                                                                                                               D Yes
                                                                                                                                               D No
                                                                                                                                               D Yes
                                                                                                                                               D No
                                                                                                                                               D Yes
 3. Do your expenses include
    expenses of people other than
                                              D No
____yourself and your d~pendents?             D Yes

                    Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                              Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   $                990.00
     any rent for the ground or lot.                                                                                       4.

         If not included in line 4:
         4a.     Real estate taxes                                                                                         4a.     $

         4b.     Property, homeowners, or renter's insurance                                                               4b.     $                 15.88
         4c.     Home maintenance, repair, and upkeep expenses                                                             4c.     $                125.00
         4d.     Homeowner's association or condominium dues                                                               4d.     $

Official Form 106J                                               Schedule J: Your Expenses                                                            page 1
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 Debtor 1        Victoria Lee Meyers                                                        Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name     Middle Name        Last Name




                                                                                                                        Your expenses


                                                                                                                    $
 5. Additional mortgage·payments for your residence, such as home equity loans                               5.

 6. Utilities:
       6a.   Electricity, heat, natural gas                                                                  6a.    $                   329.00
       6b.   Water, sewer, garbage collection                                                                6b.    $                    90.00
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                   202.00
       6d.   Other. Specify: Streaming EntertainmenUBooks                                                    6d.    $                    56.70

 7. Food and housekeeping supplies                                                                           7.     $                   500.00

  8. Childcare and children's education costs                                                                8.     $
 9. Clothing, laundry, and dry cleaning                                                                      9.     $                    35.00
10. Personal care products and services                                                                      10.    $
11. Medical and dental expenses                                                                              11.    $

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    $                    72.00
    Do not include car payments.                                                                             12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $
14.    Charitable contributions and religious donations                                                      14.    $

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                   15a.   $
       15b. Health insurance                                                                                 15b.   $
       15c. Vehicle insurance                                                                                15c.   $                    84.78
       15d. Other insurance. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                       15d.   $

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: PPTax                                                                                        16.    $                     4.00

17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.   $

       17b. Car payments for Vehicle 2                                                                       17b.   $
       17c. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                           17c.   $
       17d. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                           17d.   $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                         18.
                                                                                                                    $

19. Other payments you make to support others who do not live with you.
      Specify:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                   19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I; Your Income.

       20a. Mortgages on other property                                                                     20a.    $

      . 20b. Real estate taxes                                                                              20b.    $
       20c. Property, homeowner's, or renter's insurance                                                    20c.    $
       20d. Maintenance, repair, and upkeep expenses                                                        20d.    $
       20e. Homeowner's association or condominium dues                                                     20e.    $



Official Form 106J                                              Schedule J: Your Expenses                                                 page 2
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 Debtor 1         Victoria Lee Meyers                                                           Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name    Middle Name        Last Name




21.    Other. Specify:     Less 20% Biz Use For Hm Office Exp from P&L                                          21.   +$              -367.41


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                            22a.   $              2,336.95

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                    22b.   $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                         22c.   $              2,336.95



23. Calculate your monthly net income.
                                                                                                                       $             1,980.13
      23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.

      23b.    Copy your monthly expenses from line 22c above.                                                  23b.   -$             2,136.95

      23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                       $              -156.82
              The result is your monthly net income.                                                           23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      !iZI' No.
      D Yes.        Explain here:




Official Form 106J                                             Schedule J: Your Expenses                                                  page 3
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   Fill in this information to identify your case:


   Debtor 1             Victoria Lee Meyers
                        First Name              Middle Name              Last Name

   Debtor2
   (Spouse, ~ filing) First Name                Middle Name              Last Name


   United States Bankruptcy Court for the: Eastern and Western District of Arkansas

   Case number
    (If known)                                                                                                                        D Check if this is an
                                                                                                                                         amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                  04/22
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        0 Married
        GZi Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?
        0 No
        l:if" Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
                 Debtor 1:                                          Dates Debtor 1     Debtor 2:                                           Dates Debtor 2
                                                                    lived there                                                            lived there


                                                                                       0 Same as Debtor 1                                0 Same as Debtor 1
                  1418 Greenwood Ave
                                                                    From 11/01/2023                                                          From
                  Number             Street                                               Number Street
                                                                    To    11/01/2024                                                         To


                  Hot Springs                 AR      71913
                 City                         State ZIP Code                              City                     State ZIP Code

                                                                                       0 Same as Debtor 1                                0 Same as Debtor 1
                 204 Alcorn St                                      From 01/01/2021                                                          From
                 Number              Street                                               Number Street
                                                                    To    11/01/2023                                                         To


                 Hot Springs                  AR      71901
                 City                         State ZIP Code                              City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       l:if" No
       0 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


 fifJ             Explain the Sources of Your Income

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 1
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Debtor 1     Victoria Lee Meyers                                                                           Case number (if known), _______________
               First Name    Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      □ No
      ~ Yes. Fill in the details.
                                                                    -------------·- --------- r----                                       -------- ----------
                                                       [ Debtor 1                             i I Debtor 2
                                                         -------------· -------------- -- ___ ' I_______                              •                  ------------------ .•
                                                         Sources of income               Gross income                 Sources of income                        Gross income
                                                         Check all that apply.           (before deductions and       Check all that apply.                    (before deductions and
                                                                                         exclusions)                                                           exclusions)

                                                         ~ Wages, commissions,                                        D Wages, commissions,
           From January 1 of current year until
                                                           bonuses, tips                  $- - - - -0.00
                                                                                                    --                  bonuses, tips                       $_ _ _ _ _ __
           the date you filed for bankruptcy:
                                                         ~ Operating a business                                       D Operating a business

           For last calendar year:                       ~ Wages, commissions,                                        D Wages, commissions,
                                                                                                   43,433.76
           (January 1 to December 31,2=0=2=4~-~
                                                           bonuses, tips
                                                         ~ Operating a business
                                                                                          $
                                                                                           - - - - - - - D bonuses, tips
                                                                                                           Operating a business
                                                                                                                                                            $_ _ _ _ _ __

                                           yyyy



           For the calendar year before that:            ~ Wages, commissions,                                        D Wages, commissions,
                                                           bonuses.tips                         46,785.00                   bonuses,tips
                                                                                          $- - -                                                            $_ _ _ _ _ __
           (January 1 to December 31,2
                                     _0_2_3_~
                                           yyyy
                                                         ~ Operating a business                  ----                 ~ Operating a business


 5.   Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      □ No
      D Yes. Fill in the details.
                                                       r -- - ·---------.-- -..     ------ - ---        ------ r-- --- ------------ ----·------.
                                                       , Debtor 1                                             ,. I Debtor 2                     .
                                                       -----~----           ----   - ~- - - ---   --    --- ------   t__ - - - -- - - - - - - - - - -   ------    ~------- - - - -


                                                         Sources of income                Gross income from             Sources of income                      Gross income from
                                                         Describe below.                  each source                   Describe below.                        each source
                                                                                          (before deductions and                                               (before deductions and
                                                                                          exclusions)                                                          exclusions)


           From January 1 of current year until
                                                        Reimbursement                 $                                                                    $
           the date you filed for bankruptcy:           for Home Internet             $                  90.00                                             $
                                                                                      $                                                                    $


           For last calendar year:                                                   $                                                                     $
           (January 1 to December 31,2024         )                                  $                                                                     $
                                           yyyy
                                                                                     $                                                                     $



           For the calendar year before that:                                        $                                                                     $
           (January 1 to December 31,2023         )     Social Security              $                                                                     $
                                           yyyy
                                                        Non-Taxable PClt             $                 1,109.00                                            $




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                        page 2
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Debtor 1    Victoria Lee Meyers                                                                    Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ __
             First Name         Middle Name           Last Name




            List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?

     D No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
             "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

             lall No. Go to line 7.
             D Yes. List below each creditor to whom you paid a total of $7,575* or more in ·one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     !ill Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

             D No. Go to line 7.
             6d' Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid       Amount you still owe    Was this paymentfor...
                                                                      payment


                     DMT Properties                                  01/01/2025     $          2,805.00 $                9,900.00
                    Creditor's Name
                                                                                                                                    D Mortgage
                    218 4th St.
                                                                                                                                    D Car
                                                                     12/01/2025
                     Number     Street                                                                                              D Credit card
                                                                     11/01/2025                                                     D Loan repayment
                                                                                                                                    D Suppliers or vendors
                    Hot Springs                 AR     71913
                    City                      State       ZIP Code
                                                                                                                                    iii" other -Rent
                                                                                                                                                 ----

                                                                                    $                      $                        D Mortgage
                    Creditor's Name
                                                                                                                                    D Car
                    Number     Street                                                                                               D Credit card
                                                                                                                                    D Loan repayment
                                                                                                                                    D Suppliers or vendors
                    City                      State       ZIP Code
                                                                                                                                    D Other _ _ _ __


                                                                                    $. _ _ _ _ _ _ _ $_ _ _ _ _ _ __
                    Creditor's Name
                                                                                                                                    D Mortgage
                                                                                                                                    Dear

                    Number     Street                                                                                               D Credit card
                                                                                                                                    D Loan repayment
                                                                                                                                    D Suppliers or vendors
                    City                      State       ZIP Code
                                                                                                                                    D Other _ _ _ __



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 3
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Debtor 1      Victoria Lee Meyers                                                                   Case number (if known). _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     lif No
     D Yes. List all payments to an insider.
                                                                        Dates of     Total amount     Amount you still    Reason for this payment
                                                                        payment      paid             owe


                                                                                    $_ _ _ _ _ $_ _ _ __
           Insider's Name



           Number        Street




           City                                 State   ZIP Code



                                                                                    $_ _ _ _ _ $_ _ _ __
           Insider's Name


           Number        Street




           City                                 State   ZIP Code


 a. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     lif No
     D Yes. List all payments that benefited an insider.
                                                                      Dates of       Total amount     Amount you still    Reason for this payment
                                                                      payment        paid             owe
                                                                                                                          Include creditor's name

                                                                                    $._ _ _ _ _ $_ _ _ __
           Insider's Name



           Number        Street




           City                                 State   ZIP Code



                                                                                    $_ _ _ _ _ $_ _ _ __
           Insider's Name



           Number        Street




           City                                 State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page4
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Debtor 1     Victoria Lee Meyers                                                                              Case number (it known) ______________
              First Name            Middle Name            Last Name




              Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     □ No
     GZr Yes. Fill in the details.
                                                                    Nature of the case                  Court or agency                                Status of the case

                                               : LVNV Funding LLC v.                                    Garland Cnty District Court HS div
           case title HTCV-24-262 Civil Jucill i Victoria L. Meyers                                   ;Court Name
                                                                                                                                                       □ Pending
                                                                !

                                    : Debt Collection original                                                                                         □ On appeal
                                                                                                        607 Ouachita Ave, RM 150
           - - - - - - - - - - - - ; creditor Citi Bank                                               !Number   Street                                 laa' Concluded
           Case number _ _ _ _ _ _ : 1607.14                                                            Hot Springs                 AR       71901
                                                                                                      lcity                 State    ZIP Code




           Case title.___________                                                                     :court Name
                                                                                                                                                       □ Pending
                                                                                                                                                       D On appeal
                                                                                                      Number    Street                                 □ Concluded

           Case number
                                                                                                      City                  State    ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     □ No. Go to line 11.
     ~ Yes. Fill in the information below.

                                                                              Describe the property                                   Date           Value of the property

                                                                             Wages - I was notified 12/15/2024
                LVNV Funding LLC                                                                                                      11/01/2024     $.__1_,6_0_7._14_
               Creditor's Name

                Po Box 1269
               Number      Street                                             Explain what happened


               c/o Resurgent Capital Services LP                              □ Property was repossessed.
                                                                              □ Property was foreclosed.
               Greenville                         SC        29602             ~ Property was garnished.
               City                               State   ZIP Code            □ Property was attached, seized, or levied.
                                                                              Describe the property                                   Date            Value of the propert)



                                                                                                                                                     $._ _ _ _ __
               Creditor's Name



               Number      Street
                                                                              Explain what happened

                                                                              □ Property was repossessed.
                                                                              D   Property was foreclosed.

               City                               State   ZIP Code
                                                                              D Property was garnished.
                                                                              □ Property was attached, seized, or levied.



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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Debtor 1          Victoria Lee Meyers                                                                    Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     liZi No
     D Yes. Fill in the details.
                                                                 Describe the action the creditor took                      Date action      Amount
                                                                                                                            was taken
           Creditor's Name


                                                                                                                                             $_ _ _ _ _ __
           Number       Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX-_ _ _ _


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     fia' No
     D Yes

■ iii List Certain Gifts and Contributions

 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     lilf No
     D Yes. Fill in the details for each gift.

            Gifts with a total value of more than $600           Describe the gifts                                         Dates you gave      Value
            per person                                                                                                      the gifts



                                                                                                                                              $ _ _ _ _ __
           Person to Whom You Gave the Gift


                                                                                                                                              $_ _ _ _ __


           Number       Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                         Dates you gave     Value
           per person                                                                                                       the gifts


                                                                                                                                               $ _ _ _ _ __
           Person to Whom You Gave the Gift


                                                                                                                                               $_ _ _ _ __



           Number       Street



           City                           State   ZIP Code


           Person's relationship to you _ _ _ _ __


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
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Debtor 1          Victoria Lee Meyers                                                                            Case number (if known)._ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name               Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ~ No
     □ Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you          Vallie
            that total more than $600                                                                                                     contributed
                                                                                     -   ------~· -        ----------



                                                                                                                                                            $_ _ _ _ __
           Charity's Name


                                                                                                                                                            $_ _ _ _ __



           Number       Street




           City           State        ZIP Code




■   iii            List Certain Losses

  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     lif No
     D Yes. Fill in the details.
            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule AIB: Property.


                                                                                                                                                            $_ _ _ __




                  List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     iia" No
     □ Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made


            Number        Street                                                                                                                            $_ _ _ _ __


                                                                                                                                                            $_ _ _ _ __

            City                         State    ZIP Code



            Email or website address


            Person Who Made the Payment, if Not You



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Debtor 1      Victoria Lee Meyers                                                                              Case number (if known),_ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Middle Name              Last Name



                                                                                                   -   ---- -----   ----~------- --   --------------
                                                                   Description and value of any property transferred                  Date payment or        Amount of
                                                                                                                                      transfer was made      payment


           Person Who Was Paid
                                                                                                                                                            $_ _ _ _ __
           Number       Street
                                                                                                                                                            $. _ _ _ _ __



           City                        State    ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     D No                               See attached: 20240531-20250108_BeyondFinance_CFT_SavingsAccountStatement
     ~Yes.Fill in the details.

                                                                   Description and value of any property transferred                  Date payment or       Amount of payment
                                                                                                                                      transfer was
           Beyond Finance LLC                                                                                                         made
           Person Who Was Paid
                                                                : 117 .69 per paycheck to make negotiations and
           P.O. Box 660442                                      , payments on my behalf to creditors +Beyond -                        07/04/2024            $. _ _ _ 117.69
                                                                                                                                                                     __
           Number        Street                                 . total of 1059.21 (894.22 paid out on my behalf-
                                                                : approx. 164.99 less fees due back to me as a
                                                                  refund of closing the account)                                      08/07/2024            $         117.69
           Dallas                     TX        75266
           City                        State    ZIP Code

 1_8. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     ~ No
     D Yes. Fill in the details.
                                                                   Description and value of property           Describe any property or payments received       Date transfer
                                                                   transferred                                 or debts paid in exchange                        was made

           Person Who Received Transfer


           Number       Street




           City                        State    ZIP Code


           Person's relationship to you _ _ _ __


           Person Who Received Transfer


           Number       Street




           City                       State     ZIP Code

           Person's relationship to you _ _ _ __

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
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Debtor 1       Victoria Lee Meyers                                                                            Case number (if known)._______________
                   First Name      Middle Name              Last Name




 1s. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ~ No
     0 Yes. Fill in the details.
                                                                    Description and value of the property transferred                                       Date transfer
                                                                                                                                                            was made


           Name of trust




               List Certain Financial Accounts, Instruments, Safa Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     liZf No
     0 Yes. Fill in the details.
                                                                    Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                        instrument                closed, sold, moved,   closing ortransfer
                                                                                                                                  or transferred

            Name of Financial Institution
                                                                        xxxx-_ _ _ _                     0 Checking                                      $_ _ _ __

            Number        Street                                                                         0 Savings

                                                                                                        0   Money market

                                                                                                         0 Brokerage
            City                        State    ZIP Code
                                                                                                         Oother_ _ __



            Name of Financial Institution
                                                                    xxxx-_ _ _ _                        0 Checking                                       $_ _ _ _ _
                                                                                                        0   Savings

            Number       Street                                                                          □ Money market
                                                                                                        □ Brokerage
                                                                                                         □ other_ _ __
            City                        State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     Iii No
     □ Yes. Fill in the details.
                                                                    Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                                have it?

                                                                                                                                                                □ No
            Name of Financial Institution                          Name
                                                                                                                                                                □ Yes


            Number       Street                                    Number   Street


                                                                   City       State      ZIP Code
            City                        State    ZIP Code



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Debtor 1          Victoria Lee Meyers                                                                                    Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
      liZi No
      □ Yes. Fill in the details.
                                                                    Who else has or had access to it?                          Describe the contents                  Do you still
                                                                                                                                                                      have it?

                                                                                                                                                                       □ No
            Name of Storage Facility                                 Name                                                                                              □ Yes

            Number        Street                                     Number    Street


                                                                     City State ZIP Code

                                        State     ZIP Code



                     Identify Property Yau Hald or Control far Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
      if No
     □ Yes. Fill in the details.
                                                                    Where is the property?                                     Describe the property               Value


            Owner's Name                                                                                                                                           $_ _ __

                                                                   Number     Street
            Number        Street



                                                                   City                             Stale     ZIP Code
            City                        State     ZIP Code


                     Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 .i    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  □   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.
  □    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


       liZi No
       □ Yes. Fill in the details.
                                                                    Governmental unit                             Environmental law, if you know it               Date of notice
                                                                                                                         - --- - ----   - ----·--- - - - -- - -




           Name of site                                            Governmental unit


           Number       Street                                     Number     Street


                                                                   City                    State   ZIP Code



           City                        State     ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 10
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Debtor 1       Victoria Lee Meyers                                                                                       Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name      Middle Name              Last Name




 2s. Have you notified any governmental unit of any release of hazardous material?

     ~No
     □ Yes. Fill in the details.
                                                                   Governmental unit                                 Environmental law, if you know it                   Date of notice



            Name of site                                          Governmental unit


            Number        Street                                  Number       Street



                                                                  City                    State    ZIP Code


            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     liZI No
     □ Yes. Fill in the details.
                                                                                                                                                                           Status of the
                                                                        Court or agency                                   Nature of the case
                                                                                                                                                                           case

           Case title_ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                          □ Pending
                                                                        Court Name
                                                                                                                                                                          □ On appeal
                                                                        Number   Street                                                                                   □ Concluded

           Case number                                                  City                      State   ZIP Code



                     Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           ~ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           □ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           □ A partner in a partnership
           □ An officer, director, or managing executive of a corporation
           □ An owner of at least 5% of the voting or equity securities of a corporation

     □ No. None of the above applies. Go to Part 12.
     ~ Yes. Check all that apply above and fill in the details below for each business.
                                                                        Describe the nature of the business                             Employer Identification number
            Victoria Meyers; I'm the Bookkee
                                                                                                                                         Do not include Social Security number or ITIN.
            Business Name
                                                                  : Bookkeeping, Tax Consultation and other,
            324 Burchwood Bay Rd                                  • Services                                 EIN: 8 ~ -Q_ 7_ 7__ ~ ~ i._.i_
            Number        Street
                                                                        Name of accountant or bookkeeper                                 Dates business existed
            AptA7

            Hot Springs                  AR      71913
                                                                    Self- this is ongoing
                                                                                                                                         From 01/01/2003r 0 12/31/2025                      I
            City


            Victoria Meyers; Independent
                                        State    ZIP Code

                                                                        Describe the nature of the business                             Employer Identification number                      I
            Business Name
                                                                    Photography, Art, Poetry, Misc.
                                                                                                                                         Do not include Social Security number or ITIN.
                                                                                                                                                                                            !
            324 Burchwood BAy Rd
            Number        Street
                                                                        Name of accountant or bookkeeper
                                                                                                                                         EIN: __________ - - - - - -

                                                                                                                                         Dates business existed
                                                                                                                                                                                            I
                                                                                                                                                                                            I
            AptA7                                                                                                                                                                           i
                                                                    Self - no discernable income in 2024 or
            Hot Springs
            City
                                         AR
                                        State
                                                 71913
                                                 ZIP Code
                                                                    2025 - there may be expenses                                         From 01/01/2016r 0 12/31/2025
                                                                                                                                                                                            I
                                                                                                                                                                                           _J
Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                      page 11
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Debtor 1       Victoria Lee Meyers                                                                            Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                   Describe the nature of the business
                                                                                           ---------------,
                                                                                                                            Do not include Social Security number or ITIN.
           Business Name                                                                                                i
                                                                                                                            EIN: _ _ _ _ _ _ _ _ _

           Number        Street
                                                                   Name of accountant or bookkeeper                         Dates business existed



                                                                                                                            From               To 12/31/2025
           City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     liZl No
     D Yes. Fill in the details below.
                                                                   Date issued



           Name                                                    MM/DD/YYYY



           Number        Street




           City                        State    ZIP Code




                  Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      11\A']=---a§ 152, 1341   1 and 3571.



                                                                                 Jc
                                                                                      Signature of Debtor 2


                                                                                      Date - - - - - -

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      0    No
      liZl Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      GZ(' No
      D Yes. Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach the Bankruptcy Petition Preparers Notice,
                                                                                                                    Declaration, and Signature (Official Form 119).




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
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 Fill in this information to identify your case:                                                     Check one box only as directed in this form and in
                                                                                                     Form 122A-1 Supp:
 Debtor 1         Victoria Lee Meyers
                     First Name               Middle Name             Last Name
                                                                                                     0 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name            Last Name                       0 2. The calculation to determine if a presumption of
                                                                                                            abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Eastern and Western District of Arkansas                           Means Test Calculation (Official Form 122A-2).
 Case number                                                                                         0 3. The Means Test does not apply now because of
 (If known)                                                                                                 qualified military service but it could apply later.



                                                                                                     D Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

                   Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        liZI Not married. Fill out Column A, lines 2-11.
        0 Married and your spouse is filing with you. Fill out both Columns A and 8, lines 2-11.
        0 Married and your spouse is NOT filing with you. You and your spouse are:
          0 Living in the same household and are not legally separated. Fill out both Columns A and 8, lines 2-11.
          0 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(8).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101 (1 DA). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A              Column B
                                                                                                       Debtor 1              Debtor 2 or
                                                                                                                             non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
        (before all payroll deductions).                                                                $   3,794.00           $_ _ __

   3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                        $_ _ __                $_ _ __
      Column 8 is filled in.
   4. All amounts from any source which are regularly paid for household expenses
        of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not
        filled in. Do not include payments you listed on line 3.                                        $      750.00          $_ _ __

   5. Net income from operating a business, profession,                             Debtor2
                                                                     Debtor 1
      or farm
      Gross receipts (before all deductions)                            i93.00      $_ _

        Ordinary and necessary operating expenses                    - $289.00- $_ _
                                                                                              Copy
        Net monthly income from a business, profession, or farm         $    4.00   $_ _ here~          $- - -4.00
                                                                                                               -               $_ _ __

 I 6. Net income from rental and other real property
      Gross receipts (before all deductions)
                                                                      Debtor 1
                                                                       $_ _
                                                                                    Debtor2
                                                                                     $_ _
        Ordinary and necessary operating expenses                    -$_ _ -$_ _
                                                                                              Copy
        Net monthly income from rental or other real property           $    0.00   $_ _ here~          $         0.00         $_ _ __

   7.   Interest, dividends, and royalties                                                              $         0.00         $._ _ __



Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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Debtor 1           Victoria Lee Meyers                                                                                      Case number (if known) _ _ _---,-_ _ _ _ _ _ _ _ __
                   First Name              Middle Name                     Last Name



                                                                                                                                  Column A                    Co/umnB
                                                                                                                                  Debtor 1                    Debtor2 or
                                                                                                                                                              non-filing spouse

   8. Unemployment compensation                                                                                                     $- - -0.00
                                                                                                                                           -                      $_ _ _ __
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ......................... :...... -I-
            For you..................................................................................    $_ _ _ _ __
            For your spouse..................................................................            $_ _ _ _ __
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
                                                                                                                                           0.00
                                                                                                                                    $· - - -                     $_ _ _ __
      retired under any provision of title 10 other than chapter 61 of that title.                                                           -
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           Sales from ESPP                                                                                                          $        182.00              $
                                                                                                                                    $                            $
           Total amounts from separate pages, if any.                                                                            +$              0.00         +$

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.
                                                                                                                                I $ 4,730.ooJ + I $                                  f=I $ 4,730.001
                                                                                                                                                                                        Total current
                                                                                                                    See Attached:                           monthly income

                     Determine Whether the Means Test Applies to You                                                20241228_B-122A-1 _6MoslncomeCalculation_VMeyers

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11 ...................................................................................... Copy line 11 here+        $ 4,730.00
                  Multiply by 12 (the number of months in a year).                                                                                                                     X 12
       12b.       The result is your annual income for this part of the form.                                                                                                 12b.     $56,760.00

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                             IArkansas
       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household ..................................................................................................13.     $65,409.00
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


       14a.    liZi Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3. Do NOT fill out or file Official Form 122A-2




       14b. 0          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                                                 Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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Debtor 1     Victoria Lee Meyers                                                                      Case number Cifknown) _ _ _ _ _ _ _ _ _ _ _ _ __
             First Name       Middle Name           Last Name



 ■ §fl         Sign Below

                                              under penalty of perjury that the information on this statement and in any attachments is true and correct.


                                                                                               JC
                     •gnature of Debtor 1                                                           Signature of Debtor 2

                   Date    \ [ q,   [ 2,ba--~
                          MM/ DD      /YYYY                                                         Date .,,M.,,,M..,....,../""'D""'D___,/..,..YYYY~,-,--


                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                          page 3
